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                 Exhibit 1
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                                                                             January 2024




                    Inside the Firm

We are a nationally recognized
leader in high-stakes plaintiffs’ work,
ranging from class and mass actions,
to public client investigations and
                                                                             edelson.com
prosecutions.
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                                                        ★   ★   ★   ★    ★   ★   ★



 “National reputation as a maverick in [its]
       commitment to pursuing big-ticket . . .
                                     cases."
                                                                        —Law360
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                 Who We Are
EDELSON PC is a law firm concentrating on high stakes plaintiff’s work
ranging from class and mass actions to public client investigations and
prosecutions. The cases we have litigated—as either lead counsel or as
part of a broader leadership structure—have resulted in settlements and
verdicts totaling over $45 billion.

   We hold records for the largest jury verdict in a privacy case ($925m),
   the largest consumer privacy settlement ($650m), and the largest TCPA
   settlement ($76m). We also secured one of the most important consumer
   privacy decisions in the U.S. Supreme Court (Robins v. Spokeo). Our class
   actions, brought against the national banks in the wake of the housing
   collapse, restored over $5 billion in home equity credit lines. We served
   as counsel to a member of the 11-person Tort Claimant’s Committee in the
   PG&E Bankruptcy, resulting in a historic $13.5 billion settlement. We are the
   only firm to have established that online apps can constitute illegal gambling
   under state law, resulting in settlements that are collectively worth $651
   million. We are co-lead counsel in the NCAA personal injury concussion
   cases, leading an MDL involving over 300 class action lawsuits. And we
   are representing, or have represented, regulators in cases involving the
   deceptive marketing of opioids, environmental cases, privacy cases against
   Facebook, Uber, Google and others, cases related to the marketing of
   e-cigarettes to children, and cases asserting claims that energy companies
   and for-profit hospitals abused the public trust.
   We have testified before the United States Senate and state legislative
   and regulatory bodies on class action and consumer protection issues,
   cybersecurity and privacy (including election security, children’s privacy and
   surreptitious geotracking), sex abuse in children’s sports, and gambling,
   and have repeatedly been asked to work on federal, state, and municipal
   legislation involving a broad range of issues. We speak regularly at seminars
   on consumer protection and class action issues, and routinely lecture at law
   schools and other graduate programs.
   We have a “one-of-a-kind” investigation team that sets us apart from others
   in the plaintiff's bar. Our dedicated “internal lab of computer forensic
   engineers and tech-savvy lawyers” investigate issues related to “fraudulent
   software and hardware, undisclosed tracking of online consumer activity
   and illegal data retention,” among numerous other technology related issues
   facing consumers. Cybersecurity & Privacy Practice Group of the Year,
   Law360 (January 2019).




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Who We Are



              Instead of chasing the headlines, our case development team
             is leading the country in both identifying emerging privacy and
             technology issues, as well as crafting novel legal theories to match.
             Some examples of their groundbreaking accomplishments include:
             demonstrating that Microsoft and Apple were continuing to collect
             certain geolocation data even after consumers turned “location
             services” to “off”; filing multiple suits revealing mobile apps that
             “listen” through phone microphones without consent; filing a lawsuit
             stemming from personal data collection practices of an intimate IoT
             device; and filing suit against a data analytics company alleging that it
             had surreptitiously installed tracking software on consumer computers.




                                   As the Hollywood
                                 Reporter explained,
                                 we are “accustomed
                                to big cases that have
                                       lasting legacy.”



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                                    In the News
The firm and our attorneys regularly get recognized for our groundbreaking work. We have been named by Law360
as a Consumer Protection Group of the Year (2016, 2017, 2019, 2020), a Class Action Group of the Year (2019), a
Plaintiff's Class Action Powerhouse (2017, 2018, 2019), a Cybersecurity and Privacy Group of the Year (2017, 2018,
2019, 2020), a “Privacy Litigation Heavyweight,” a “Cybersecurity Trailblazer” by The National Law Journal (2016)
and won sole recognition in 2019 as “Elite Trial Lawyers” in Gaming Law. The National Law Journal also recognized
us as “Elite Trial Lawyers” in Consumer Protection (2020, 2021), Class Action (2021), Privacy/Data Breach (2020),
Mass Torts (2020), and Sports, Entertainment and Media Law (2020). In 2019, we were recognized for the third
consecutive year as an “Illinois Powerhouse,” alongside Barack Ferrazzano, Winston & Strawn, Schiff Hardin and
Mayer Brown; in each year, we were the only plaintiff's firm, and the only firm with fewer than one hundred lawyers,
recognized. Edelson was a two time finalist (2021 and 2022) and one-time winner of the Diversity Initiative Award
(2021) by The National Law Journal, given to the plaintiffs firm demonstrating a concerted and successful effort to
                       promote diversity within its organization and the profession at large.




                 Our founder has been recognized as a “Titan of the Plaintiff’s Bar” by Law360,
                 one of “America’s top trial lawyers” in the mass action arena, a LawDragon
                 2020 and 2023 Leading Plaintiff Financial Lawyer, a the top “Class Action
                 and Mass Tort Plaintiff’s” Lawyer in Illinois by Leading Lawyers, and one of
                 “Chicago’s Top Ten Startup Founders Over Age 45” by Tech.co—the only
                 law firm founder to win such an award. Our Global Managing Partner was
                 recognized as a top 100 lawyer in California by California Daily Journal (2020,
                 2021).
                  We have also been recognized by courts for our approach to litigation,
                  which led the then-Chief Judge of the United States Court for the Northern
                  District of Illinois to praise our work as “consistent with the highest standards
                  of the profession” and “a model of what the profession should be. . . .” In re
                  Kentucky Grilled Chicken Coupon Mktg. & Sales Practs. Litig., No. 09-cv-
                  07670, MDL 2103 (N.D. Ill. Apr. 04, 2012). Likewise, in appointing our firm
                  interim co-lead in one of the most high-profile banking cases in the country,
                  a federal court pointed to our ability to be “vigorous advocates, constructive
                  problem-solvers, and civil with their adversaries.” In Re JPMorgan Chase
                  Home Equity Line of Credit Litig., No. 10-cv-3647 (N.D. Ill. July 16, 2010).




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                             Our Practice
General Mass/Class Tort Litigation
We currently represent, among others, labor unions seeking to recover
losses resulting from the opioid crisis, classes of student athletes dealing with
the long-term effects of concussive and sub-concussive injuries, hundreds
of families experiencing adverse effects of air and water contamination
in their communities, individuals affected by the “Camp Fire” in Northern
California, and victims of the 2020 Labor Day fires in Oregon.

Representative cases and settlements include:
  Representing hundreds of victims and serving as lead trial counsel, our firm secured a
  jury's verdict for the 2020 Labor Day fires, resulting in a total of at least $87 million in
  damages on behalf of the named plaintiffs. This is the first known jury verdict holding a
  utility provider, PacifiCorp, accountable for a wildfire. (James v. PacifiCorp, No. 20-CV-
  33885)
  Representing over 1,000 victims of the Northern California “Camp Fire,” allegedly caused
  by utility company Pacific Gas & Electric. Served as counsel to a member of the 11-person
  Tort Claimants' Committee in the PG&E Bankruptcy, resulting in a historic $13.5 billion
  settlement.
  Representing hundreds of victims of Oregon's 2020 "Beachie Creek" and "Holiday
  Farm" fires, allegedly caused by local utility companies. The Beachie Creek and Holiday
  Farm fires together burned approximately 400,000 acres, destroyed more than 2,000
  structures, and took the lives of at least six individuals.
  In re Nat’l Collegiate Athletic Ass’n Single School/Single Sport Concussion Litig., No. 16-
  cv-8727, MDL No. 2492 (N.D. Ill.): Appointed co-lead counsel in MDL against the NCAA, its
  conferences, and member institutions alleging personal injury claims on behalf of college
  football players resulting from repeated concussive and sub-concussive hits.
  Representing numerous labor unions and health and welfare funds seeking to recover
  losses arising out of the opioid crisis. See, e.g., Illinois Public Risk Fund v. Purdue Pharma
  L.P., et al., No. 2019-CH-05847 (Cir. Ct. Cook Cty., Ill.); Int’l Union of Operating Eng’rs, Local
  150, et al. v. Purdue Pharma L.P., et al., No. 2019-CH-01548 (Cir. Ct. Cook Cty., Ill.); Village
  of Addison et al. v. Actavis LLC et al., No. 2020-CH-05181 (Cir. Ct. Cook Cty., Ill.).




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Plaintiff's Class and
Mass Action Practice


           Environmental Litigation
           We represent hundreds of families harmed by the damaging effects of
           ethylene oxide exposure in their communities, consumers and businesses
           whose local water supply was contaminated by a known toxic chemical,
           and property owners impacted by the flightpath of Navy fighter planes.
           Representative cases and settlements include:
            Representing three state Attorneys General in their investigations into
            contamination and exposure issues resulting from a “forever chemical” commonly
            referred to as PFAS.
           Representing a state Attorney General in investigating and potentially litigating
           matters related to the problematic use of a pesticide used in homes, on agricultural
           crops, lawns, and gardens, and as a fumigating agent—that is now known to have
           contaminated soil and groundwater.
            Representing hundreds of individuals around the country that are suffering the ill-
           effects of ethylene oxide exposure—a gas commonly used in medical sterilization
           processes. We have brought over 100 personal injury and wrongful death cases
           against EtO emitters across the country, as well as numerous medical monitoring
           class actions. Brincks et al. v. Medline Indus., Inc., et al., No. 2020-L-008754 (Cir. Ct.
           Cook Cty., Ill.); Leslie v. Steris Isomedix Operations, Inc., et al., No. 20-cv-01654 (N.D.
           Ill.); Jackson v. 3M Company, et al., No. 19-cv-00522 (D.S.C.).
            Representing hundreds of individuals who have been exposed through their
            own drinking water and otherwise to PFAS and related "forever chemicals" used
            in various applications. This exposure has allegedly led to serious health issues,
            including cancer, as well as the devaluation of private property due to, among
            other things, the destruction of the water supply. In conjunction with our work in
            this space, we have been appointed to the Plaintiff's Executive Committee in In re:
            Aqueous Film-Forming Foams (AFFF) Prods. Liability Litig., 18-mn-2873-RMG, MDL
            No. 2873 (D.S.C.).
            Representing property owners on Whidbey Island, Washington, whose homes sit
            directly in the flightpath of dozens of Navy fighter planes. The Navy is alleged to
            have significantly increased the number of these planes at the bases at issue, as
            well as the frequency of their flights, to the detriment of our clients’ privacy and
            properties. Pickard v. USA, No. 19-1928L (Ct. Fed. Claims); Newkirk v. USA, No. 20-
            628L (Ct. Fed. Claims).
            Our team has been designated as Panel Members on a State Attorney General’s
            Environmental Counsel Panel.


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Plaintiff's Class and
Mass Action Practice


           Banking, Lending, and Finance Litigation
           We were at the forefront of litigation arising from the aftermath of the federal
           bailouts of the banks. Our suits included claims that certain banks unlawfully
           suspended home credit lines based on pretextual reasons, and that certain
           banks failed to honor loan modification programs. We achieved the first
           federal appellate decision in the country recognizing the right of borrowers
           to enforce HAMP plans under state law. The court noted that “[p]rompt
           resolution of this matter is necessary not only for the good of the litigants
           but for the good of the Country.” Wigod v. Wells Fargo Bank, N.A., 673 F.3d
           547, 586 (7th Cir. 2012) (Ripple, J., concurring). Our settlements restored
           billions of dollars in home credit lines to people throughout the country.
           Representative cases and settlements include:
            In re JP Morgan Chase Bank Home Equity Line of Credit Litig., No. 10-cv-3647 (N.D.
            Ill.): Co-lead counsel in nationwide putative class action alleging illegal suspensions
            of home credit lines. Settlement restored between $3.2 billion and $4.7 billion in
            credit to the class.
            Hamilton v. Wells Fargo Bank, N.A., No. 09-cv-04152-CW (N.D. Cal.): Lead counsel in
            class actions challenging Wells Fargo’s suspensions of home equity lines of credit.
            Nationwide settlement restored access to over $1 billion in credit and provides
            industry leading service enhancements and injunctive relief.
            In re Citibank HELOC Reduction Litig., No. 09-cv-0350-MMC (N.D. Cal.): Lead counsel
            in class actions challenging Citibank’s suspensions of home equity lines of credit.
            The settlement restored up to $653 million worth of credit to affected borrowers.
            Wigod v. Wells Fargo, No. 10-cv-2348 (N.D. Ill.): Obtained first appellate decision
            in the country recognizing the right of private litigants to sue to enforce HAMP
            plans. Settlement provided class members with permanent loan modifications and
            substantial cash payments.




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Plaintiff's Class and
Mass Action Practice


           Privacy and Data Security
           The New York Times has explained that our “cases read like a time capsule
           of the last decade, charting how computers have been steadfastly logging
           data about our searches, our friends, our bodies.” Courts have described
           our attorneys as “pioneers in the electronic privacy class action field,
           having litigated some of the largest consumer class actions in the country
           on this issue.” See In re Facebook Privacy Litig., No. 10-cv-02389 (N.D.
           Cal. Dec. 10, 2010) (order appointing us interim co-lead of privacy class
           action); see also In re Netflix Privacy Litig., No. 11-cv-00379 (N.D. Cal. Aug.
           12, 2011) (appointing us sole lead counsel due, in part, to our “significant and
           particularly specialized expertise in electronic privacy litigation and class
           actions”). In Barnes v. Aryzta, No. 17-cv-7358 (N.D. Ill. Jan. 22, 2019), the court
           endorsed an expert opinion finding that we “should ‘be counted among
           the elite of the profession generally and [in privacy litigation] specifically’
           because of [our] expertise in the area.”
            Representative cases and settlements include:
              In re Facebook Biometric Privacy Litig., No. 15-cv-03747 (N.D.
              Cal.): Filed the first of its kind class action against Facebook
              under the Illinois Biometric Information Privacy Act, alleging
              Facebook collected facial recognition data from its users without
              authorization. Appointed Class Counsel in securing adversarial
              certification of class of Illinois Facebook users. Case settled on the
              eve of trial for a record breaking $650 million.
              Wakefield v. Visalus, No. 15-cv-01857 (D. Ore. Apr. 12, 2019): Lead
              counsel in class action alleging that defendant violated federal law
              by making unsolicited telemarketing calls. Obtained jury verdict
              and judgment equating to more than $925 million in damages to
              the class.




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Plaintiff's Class and
Mass Action Practice


           Privacy and Data Security
              Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016): Lead counsel in the
              landmark case affirming the ability of plaintiffs to bring statutory
              claims for relief in federal court. The United States Supreme Court
              rejected the argument that individuals must allege “real world”
              harm to have standing to sue in federal court; instead the court
              recognized that “intangible” harms and even the “risk of future
              harm” can establish “standing.” Commentators have called Spokeo
              the most significant consumer privacy case in recent years.
              Birchmeier v. Caribbean Cruise Line, Inc., et al., No. 12-cv-4069
              (N.D. Ill.): Co-lead counsel in class action alleging that defendant
              violated federal law by making unsolicited telemarketing calls.
              On the eve of trial, the case resulted in the largest Telephone
              Consumer Protection settlement to date, totaling $76 million.
              Satterfield v. Simon & Schuster, Inc., 569 F.3d 946 (9th Cir.
              2009): Won first ever federal decision finding that text messages
              constituted “calls” under the TCPA. In total, we have secured text
              message settlements worth over $100 million.
              Kusinski v. ADP LLC, No. 2017-CH-12364 (Cir. Ct. Cook Cty. Ill.):
              Secured key victories establishing the liability of time clock vendors
              under the Illinois Biometric Information Privacy Act and the largest-
              ever BIPA settlement in the employment context with a time clock
              vendor for $25 million.
              Dunstan v. comScore, Inc., No. 11-cv-5807 (N.D. Ill.): Lead counsel
              in certified class action accusing Internet analytics company of
              improper data collection practices. The case settled for $14 million.
              Doe v. Ann & Robert H. Lurie Children’s Hosp. of Chi., No. 2020-
              CH-04123 (Cir. Ct. Cook Cty., Ill.): Lead counsel in a class action
              alleging breach of contract, breach of confidentiality, negligent
              supervision, and other claims against Lurie Children’s Hospital
              after employees allegedly accessed medical records without
              permission.




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Plaintiff's Class and
Mass Action Practice


           Privacy and Data Security
              American Civil Liberties Union et al. v. Clearview AI, Inc., No. 2020-
              CH-04353 (Cir. Ct. Cook Cty., Ill.): Representing the American Civil
              Liberties Union in lawsuit against Clearview AI for violating the
              Illinois Biometric Information Privacy Act through its collection and
              storage of Illinois residents’ faceprints.
              Consumer Watchdog v. Zoom Video Commc'ns, Inc., No. 20-cv-
              02526 (D.D.C): Representing advocacy group Consumer Watchdog
              in its lawsuit against Zoom Video Communications Inc, alleging the
              company falsely promised to protect communications through end-
              to-end encryption.
              Mocek v. AllSaints USA Ltd., No. 2016-CH-10056 (Cir. Ct. Cook Cty,
              Ill.): Lead counsel in a class action alleging the clothing company
              AllSaints violated federal law by revealing consumer credit card
              numbers and expiration dates. Case settled for $8 million with class
              members receiving about $300 each.
              Resnick v. Avmed, No. 10-cv-24513 (S.D. Fla.): Lead counsel in
              data breach case filed against a health insurance company.
              Obtained landmark appellate decision endorsing common law
              unjust enrichment theory, irrespective of whether identity theft
              occurred. Case also resulted in the first class action settlement in
              the country to provide data breach victims with monetary payments
              irrespective of whether they suffered identity theft.
              N.P. v. Standard Innovation (US), Corp., No. 1:16-cv-08655 (N.D.
              Ill.): Brought and resolved first ever IoT privacy class action against
              adult-toy manufacturer accused of collecting and recording highly
              intimate and sensitive personal use data. Case resolved for $3.75
              million.
              Halaburda v. Bauer Publ’g Co., No. 12-cv-12831 (E.D. Mich.); Grenke
              v. Hearst Commc'ns, Inc., No. 12-cv-14221 (E.D. Mich.); Fox v. Time,
              Inc., No. 12-cv-14390 (E.D. Mich.): Lead counsel in consolidated
              actions brought under Michigan’s Preservation of Personal
              Privacy Act, alleging unlawful disclosure of subscribers’ personal
              information to data miners. In a ground-breaking decision, the
              court denied three motions to dismiss finding that the magazine
              publishers were covered by the act and that the illegal sale of
              personal information triggers an automatic $5,000 award to each
              aggrieved consumer. Secured a $30 million in cash settlement and
              industry-changing injunctive relief.


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Plaintiff's Class and
Mass Action Practice


           General Consumer Matters
           We have represented plaintiffs in consumer fraud cases in courts nationwide
           against companies alleged to have been peddling fraudulent software,
           engaging in online gambling businesses in violation of state law, selling
           defective products, or engaging in otherwise unlawful conduct.
            Representative cases and settlements include:
              Having secured a watershed Ninth Circuit victory for consumers
              in Kater v. Churchill Downs Inc., 886 F.3d 784 (9th Cir. 2018), we
              are now pursuing consumer claims against more than a dozen
              gambling companies for allegedly profiting off of illegal internet
              casinos. Settlements in several of these cases total $651 million.
              Prosecuted over 100 cases alleging that unauthorized charges for
              mobile content were placed on consumer cell phone bills. Cases
              collectively settled for over $100 million. See, e.g., McFerren v.
              AT&T Mobility LLC, No. 08-cv-151322 (Sup. Ct. Fulton Cty., Ga.);
              Paluzzi et al. v. mBlox, Inc., et al., No. 2007-CH-37213, (Cir. Ct. Cook
              Cty., Ill.); Williams et al. v. Motricity, Inc. et al., No. 2009-CH-19089
              (Cir. Ct. Cook Cty., Ill.).
              Edelson PC v. Christopher Bandas, et al., No. 1:16-cv-11057 (N.D.
              Ill.): Filed groundbreaking lawsuit seeking to hold professional
              objectors and their law firms responsible for, among other things,
              alleged practice of objecting to class action settlements in order to
              extort payments for themselves, and the unauthorized practice of
              law. After several years of litigation and discovery, secured first of
              its kind permanent injunction against the objector and his law firm,
              which, inter alia, barred them from practicing in Illinois or asserting
              objections to class action settlements in any jurisdiction absent
              meeting certain criteria.
              Brought numerous cases alleging that defendants deceptively
              designed and marketed computer repair software. Cases
              collectively settled for over $45 million. Beaton v. SpeedyPC
              Software, 907 F.3d 1018 (7th Cir. 2018).




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Plaintiff's Class and
Mass Action Practice


           General Consumer Matters
              McCormick, et al. v. Adtalem Glob. Educ., Inc., et al., No. 2018-CH-
              04872 (Cir. Ct. Cook Cty., Ill): After students at one of the country’s
              largest for-profit colleges, DeVry University, successfully advanced
              their claims that the school allegedly induced them to enroll and
              charged a premium based on inflated job placement statistics,
              the parties agreed to a $45 million settlement—the largest private
              settlement DeVry has entered into regarding the claims.
              1050 W. Columbia Condo. Ass’n v. CSC ServiceWorks, Inc., No.
              2019-CH-07319 (Cir. Ct. Cook Cty., Ill): Representing a class of
              landlords in securing a multifaceted settlement—including a cash
              component of up to $30 million—with a laundry service provider
              over claims that the provider charged fees that were allegedly
              not permitted in the parties' contracts. The settlement's unique
              structure allows class members to choose repayment in the near
              term, or to lock in more favorable rates for the next decade.
              Dickey v. Advanced Micro Devices, Inc., No. 15-cv-4922 (N.D. Cal.):
              Lead counsel in a complex consumer class action alleging AMD
              falsely advertised computer chips to consumers as “eight-core”
              processors that were, in reality, disguised four-core processors.
              The case settled for $12.1 million.
              Barrett v. RC2 Corp., No. 2007 CH 20924 (Cir. Ct. Cook Cty., Ill.):
              Co-lead counsel in lead paint recall case involving Thomas the
              Tank toy trains. Settlement was valued at over $30 million and
              provided class with full cash refunds and reimbursement of certain
              costs related to blood testing.
              In re Pet Food Prods. Liability Litig., No. 07-cv-2867 (D.N.J.): Part
              of mediation team in class action involving largest pet food recall
              in United States history. Settlement provided $24 million common
              fund and $8 million in charge backs.




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                                                                                ★    ★   ★    ★    ★   ★      ★


         Prior to entering academia, I was a lawyer at the national office of the American

         Civil Liberties Union (ACLU) for nearly a decade, during which time I pursued

           civil rights campaigns on behalf of minority groups. Based on that experience,

            it strikes me that what Class Counsel have pursued here is closer in form to a

            civil rights litigation campaign than it is to a series of discrete class action set-

           tlements. Class Counsel saw an injustice – a thinly disguised form of gambling

         preying on those most vulnerable to addictive gambling – and they sought to fix

          it. Their goal was not to win a case but to reform an entire industry, much like

            a civil rights campaign might aim to reform a particular type of discriminato-

            ry practice across an entire employment sector. To accomplish this end, Class

         Counsel went far beyond what lawyers pursuing a simple class action case would

         normally do. Class Counsel pursued multiple cases. Class Counsel pursued mul-

          tiple defendants. Class Counsel filed actions in multiple forums. Class Counsel

             tested various state laws. Class Counsel built websites to help app users avoid
           forced arbitration clauses, lobbied legislators and regulators, and took their ef-

          forts to the media. When Class Counsel lost, they did not give up, but changed

          tactics or forums and kept going. And they did all of this with their own funds,

           risking millions of dollars of their own money to end this practice. What they

          have achieved so far, with these initial settlements, is an astounding accomplish-

                 ment that begins to chip away at the perncious underlying social casinos.

            -William B. Rubenstein, Bruce Bromley Professor of Law at Harvard Law School and sole author of

                                                                the Newberg on Class Actions (5th Edition).
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Plaintiff's Class and
Mass Action Practice


           Insurance Matters
           We have successfully represented individuals and companies in a multitude
           of insurance related actions, including dozens of businesses whose business
           interruption insurance claims were denied by various insurers in the wake
           of the COVID-19 crisis. We successfully prosecuted and settled multi-million
           dollar suits against J.C. Penney Life Insurance for allegedly illegally denying
           life insurance benefits under an unenforceable policy exclusion and against
           a Wisconsin insurance company for terminating the health insurance policies
           of groups of self-insureds.
            Representative cases and settlements include:
              Biscuit Cafe Inc. et al. v. Society Ins., Inc., No. 20-cv-02514 (N.D. Ill.);
              America's Kids, LLC v. Zurich American Ins. Co., No. 20-cv-03520
              (N.D. Ill.); MAIA Salon Spa and Wellness Corp. et al. v. Sentinel Ins.
              Co., Ltd. et al., No. 20-cv-3805 (E.D.N.Y.); Badger Crossing, Inc. v.
              Society Ins., Inc., No. 2020CV000957 (Cir. Ct. Dane Cty., WI); and
              Sea Land Air Travel, Inc. v. Auto-Owners Inc. Co. et al., No. 20-
              005872-CB (Cir. Ct. Wayne Cty., MI): In one of the most prominent
              areas for class action litigation related to the COVID-19 pandemic,
              we were among the first to file class action lawsuits against the
              insurance industry to recover insurance benefits for business
              owners whose businesses were shuttered by the pandemic.
              We represent an array of small and family-owned businesses—
              including restaurants and eateries, movie theatres, salons, retail
              stores, healthcare providers, and travel agencies—in a labyrinthine
              legal dispute about whether commercial property insurance
              policies cover business income losses that occurred as a result
              of business interruptions related to the COVID-19 pandemic. With
              over 800 cases filed nationwide to date, we have played an active
              role in efforts to coordinate the work of plaintiffs' attorneys through
              the Insurance Law Section of the American Association for Justice
              (AAJ), including by leading various roundtables and workgroups
              as the State Co-Chairs for Illinois, Wisconsin, and Michigan of
              the Business Interruption Litigation Taskforce (BILT), a national
              collaborative of nearly 300 practitioners representing policyholders
              in insurance claims arising out of the COVID-19 pandemic.




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Plaintiff's Class and
Mass Action Practice


           Insurance Matters
              Holloway v. J.C. Penney, No. 97-cv-4555 (N.D. Ill.): One of the
              primary attorneys in a multi-state class action suit alleging that the
              defendant illegally denied life insurance benefits to the class. Case
              settled, resulting in a multi-million dollar cash award to the class.
              Ramlow v. Family Health Plan, 2000CV003886 (Wis. Cir. Ct.): Co-
              lead counsel in a class action suit challenging defendant’s termination
              of health insurance to groups of self-insureds. The plaintiff won a
              temporary injunction, which was sustained on appeal, prohibiting
              such termination. Case eventually settled, ensuring that each class
              member would remain insured.




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Plaintiff's Class and
Mass Action Practice


           Public Client Litigation and Investigations
           We have been retained as outside counsel by states, cities, and other
           regulators to handle investigations and litigation relating to environmental
           issues, the marketing of opioids and e-cigarettes, privacy issues, and
           general consumer fraud.
            Representative cases and settlements include:
              State of Idaho v. Purdue Pharma L.P., et al., No. CV01-19-10061 (Cir.
              Ct. Ada Cty., Idaho): Representing the State of Idaho, and nearly
              50 other governmental entities— with a cumulative constituency
              of over three million Americans—in litigation against manufacturers
              and distributors of prescription opioids.
              District of Columbia v. Juul Labs, Inc., No. 2019 CA 07795 B
              (D.C. Super. Ct.): Representing the District of Columbia in a suit
              against e-cigarette giant Juul Labs, Inc. for alleged predatory and
              deceptive marketing.
              State of New Mexico, ex. rel. Hector Balderas v. Google, LLC, No.
              20-cv-00143 (D.N.M): Representing the State of New Mexico in a
              case against Google for violating the Children’s Online Privacy
              Protection Act by collecting data from children under the age of 13
              through its G-Suite for Education products and services.
              District of Columbia v. Facebook, Inc., No. 2018 CA 8715 B (D.C.
              Super. Ct.) and People of Illinois v. Facebook Inc., et al., No. 2018-
              CH-03868 (Cir. Ct. Cook Cty., Ill.): Representing the District of
              Columbia as well as the People of the State of Illinois (through the
              Cook County State's Attorney) in lawsuits against the world's largest
              social network, Facebook, and Cambridge Analytica—a London-
              based electioneering firm—for allegedly collecting (or allowing the
              collecting of) and misusing the private data of 50 million Facebook
              users.
              ComEd Bribery Litigation: Representing the Citizens Utility Board,
              the statutorily-designated representative of Illinois utility ratepayers,
              in pursuing Commonwealth Edison for its alleged role in a decade-
              long bribery scheme.




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Plaintiff's Class and
Mass Action Practice


           Public Client Litigation and Investigations
              City of Cincinnati, et al. v. FirstEnergy, et al., No. 20CV007005
              (Ohio C.P.): Representing Columbus and Cincinnati in litigation
              against First Energy over the largest political corruption scandal in
              Ohio's history. Obtained preliminary injunction, which prevented
              electric utilities from collecting more than $1 billion of new fees
              from being collected from ratepayers
              Village of Melrose Park v. Pipeline Health Sys. LLC, et al., No.
              19-CH-03041 (Cir. Ct. Cook Cty., Ill.): Successfully represented
              the Village of Melrose Park in litigation arising from the closure
              of Westlake Hospital in what has been called “one of the most
              complicated hospital closure disputes in the state’s history.”
              In re Marriott Int’l, Inc. Customer Data Security Breach Litig., 19-md-
              02879, MDL 2879 (D. Md.): Representing the City of Chicago in the
              ongoing Marriott data breach litigation.
              In re Equifax, Inc., Customer Data Security Breach Litig., 17-md-
              02800 (N.D. Ga.): Successfully represented the City of Chicago in
              the Equifax data breach litigation, securing a landmark seven-figure
              settlement under Chicago's City-specific ordinance.
              City of Chicago, et al. v. Uber Techs., Inc., No. 17-CH- 15594 (Cir.
              Ct. Cook Cty., Ill.): Representing both the City of Chicago and the
              People of the State of Illinois (through the Cook County State's
              Attorney) in a lawsuit against tech giant Uber Technologies,
              stemming from a 2016 data breach at the company and an alleged
              cover-up that followed.




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General Commercial
Litigation




Our attorneys have also handled a wide range
of general commercial litigation matters, from
partnership and business-to-business disputes
to litigation involving corporate takeovers. We
have handled cases involving tens of thousands of
dollars to “bet the company” cases involving up to
hundreds of millions of dollars. Our attorneys have
collectively tried hundreds of cases, as well as scores
of arbitrations. We have routinely been brought on
to be “negotiation” counsel in various high-stakes or
otherwise complex commercial disputes.




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                                                        ★   ★   ★   ★   ★   ★   ★



                                                   Our Team
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Our Team



                           Jay Edelson
                           Founder and CEO


                           Secured over $3 billion in settlements and verdicts for his
                           clients while serving as lead counsel (over $20b in total).
                             Law360 described Jay as a “Titan of the Plaintiff’s Bar.” The American Bar Association

O_312.589.6375               recognized Jay Edelson as one of the “most creative minds in the legal industry.” Jay
                             has also been recognized as one of “America’s top trial lawyers” in the mass action
F_312.589.6378               arena, and was included in LawDragon's 2020 and 2023 list of Leading Plaintiff Financial
                             Lawyers. Law360 noted that he has “taken on some of the biggest companies and law
                             firms in the world and has had success where others have not.” Another publication
jedelson@edelson.com         explained that “when it comes to legal strategy and execution, Jay is simply one of the
                             best in the country.” Professor Todd Henderson, the Michael J. Marks Professor of Law at
                             the University of Chicago Law School, opined that when thinking about “who’s the most
                             innovative lawyer in the US … [Jay is] at or near the top of my list.”

                             Of Counsel explained that Jay has made a career out of “battling bullies”:

                                      Big banks. Big tech firms. Big Pharma. The big business that is the NCAA.
                                      Plaintiff‘s attorney Jay Edelson wages battle against many of the nation’s most
                                      fortified institutions. Not only does he refuse to back down to anyone, regardless
                                      of their stature or deep pockets, he welcomes the challenge.

                                      Edelson earned a monumental victory in the US Supreme Court in what’s been
                                      characterized as one of the most important consumer privacy cases of the
                                      last several years, Robins v. Spokeo. He and his team are leading the charge
                                      against the NCAA in representing former college football players who suffered
                                      concussions, and their families. And, on behalf of labor unions and governmental
                                      bodies, he’s elbow-deep in litigation against pharmaceutical companies and
                                      distributors for their pivotal role in the opioid crisis.

                                      Simply put, he’s a transformational lawyer.

                               Jay has been appointed to represent state and local regulators on some of the largest
                               issues of the day, ranging from opioids suits against pharmaceutical companies, to
                               environmental actions against polluters, to breaches of trust against energy companies
                               and for-profit hospitals, to privacy suits against Google, Facebook, Uber, Marriott, and
                               Equifax.




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Our Team



                           Jay Edelson
                           Founder and CEO


                               Jay has received special recognition for his success in taking on Silicon Valley. The
                               national press has dubbed Jay and the firm the “most feared” litigators in Silicon Valley
                               and, according to the New York Times, tech’s “babyfaced … boogeyman.” Most recently,
                               Chicago Lawyer Magazine dubbed Jay “Public Enemy No. 1 in Silicon Valley.” In the
                               emerging area of privacy law, the international press has called Jay one of the world’s
                               “profiliertesten (most prominent)” privacy class action attorneys. The National Law
                               Journal has similarly recognized Jay as a “Cybersecurity Trailblazer”—one of only two
                               plaintiff’s attorneys to win this recognition.


                               Jay has taught seminars on class actions and negotiations at Chicago-Kent College
                               of Law and privacy litigation at UC Berkeley School of Law. He has written a blog for
                               Thomson Reuters, called Pardon the Disruption, where he focused on ideas necessary to
                               reform and reinvent the legal industry and has contributed opinion pieces to TechCrunch,
                               Quartz, the Chicago Tribune, Law360, and others. He also serves on Law360’s Privacy &
                               Consumer Protection editorial advisory board. In recognition of the fact that his firm runs
                               like a start-up that “just happens to be a law firm,” Jay was recently named to “Chicago’s
                               Top Ten Startup Founders over 40” by Tech.co.


                               Jay has been regularly appointed to lead complicated MDLs and other coordinated
                               litigation, including those seeking justice for college football players suffering from the
                               effects of concussions to homeowners whose HELOCs were improperly slashed after the
                               2008 housing collapse to some of the largest privacy cases of the day.


                               Jay recieved his JD from the University of Michigan Law School.


                               For a more complete bio, see https://edelson.com/team/jay-edelson/




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Our Team



                           Rafey S. Balabanian
                           Global Managing Partner
                           Director of Nationwide Litigation

                           Appointed lead class counsel in more than two dozen class
                           actions in state and federal courts across the country.
                              Rafey started his career as a trial lawyer, serving as a prosecutor for the City of Chicago

O_415.234.5342                where he took part in dozens of trials. Rafey went on to join a litigation boutique in
                              Chicago where he continued his trial work, before eventually starting with Edelson in
F_415.373.9435                2008. He is regarded by his peers as a highly skilled litigator, and has been appointed
                              lead class counsel in more than two dozen class actions in state and federal courts
                              across the country. His work has led to groundbreaking results in trial courts nationwide,
rbalabanian@edelson.com       including a $925 million jury verdict in Wakefield v. ViSalus—the largest privacy verdict
                              in this nation’s history. In 2020 and 2021, Rafey was recognized as a top 100 lawyer in
                              California by California Daily Journal.

                                Rafey has been at the forefront of protecting consumer data, and in 2018 helped lead the
                                effort to obtain adversarial class certification for the first time in the history of the Illinois
                                Biometric Information Privacy Act, on behalf of a class of Illinois users. On the eve of trial,
                                the case settled for a record-breaking $650 million.

                                Some of Rafey’s more notable achievements include nationwide settlements involving
                                the telecom industry, including companies such as AT&T, Google, Sony, Motricity, and
                                OpenMarket valued at more than $100 million.

                                Rafey has been appointed to represent state Attorneys General and regulators on a
                                variety of issues including the District of Columbia in a suit against Facebook for the
                                Cambridge Analytica scandal. He also represents labor unions and governmental entities
                                in lawsuits against the drug manufacturers and distributors over the ongoing opioid crisis.

                                Rafey has also been appointed to the Executive Committee in the NCAA concussion
                                cases, considered to be “one of the largest actions pending in the country, a multi district
                                litigation … that currently include [more than 300] personal injury class actions filed by
                                college football players[.]” And he represents a member of the Tort Claimant’s Committee
                                in the PG&E Bankruptcy action, which resulted in a historic $13.5 billion settlement.

                                Rafey served as trial court counsel in Robins v. Spokeo, Inc., 2:10-cv-05306-ODW-AGR
                                (C.D. Cal.), which has been called the most significant consumer privacy case in recent
                                years.




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Our Team



                           Rafey S. Balabanian
                           Global Managing Partner
                           Director of Nationwide Litigation


                                Rafey’s class action practice also includes his work in the privacy sphere, and he has
                                reached groundbreaking settlements with companies like Netflix, LinkedIn, Walgreens,
                                and Nationstar. Rafey also served as lead counsel in the case of Dunstan, et al.
                                v. comScore, Inc., No. 11-cv-5807 (N.D. Ill.), where he led the effort to secure class
                                certification of what is believed to be the largest adversarial class to be certified in a
                                privacy case in the history of U.S. jurisprudence.

                                Rafey’s work in general complex commercial litigation includes representing clients
                                ranging from “emerging technology” companies, real estate developers, hotels,
                                insurance companies, lenders, shareholders and attorneys. He has successfully litigated
                                numerous multi-million dollar cases, including several “bet the company” cases.

                                Rafey is a frequent speaker on class and mass action issues, and has served as a guest
                                lecturer on several occasions at UC Berkeley School of Law. Rafey also serves on the
                                Executive Committee of the Antitrust, Unfair Competition and Privacy Section of the
                                State Bar of California where he has been appointed Vice Chair of Privacy, as well as the
                                Executive Committee of the Privacy and Cybersecurity Section of the Bar Association of
                                San Francisco.

                                Rafey received his J.D. from the DePaul University College of Law in 2005. A native
                                of Colorado, Rafey received his B.A. in History, with distinction, from the University of
                                Colorado – Boulder in 2002.




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Our Team



                           Eve-Lynn J. Rapp
                           Managing Partner, Boulder


                           Secured a $76 million settlement— the largest ever for a
                           TCPA case—four days before trial.
                             Eve is a partner and Co-Chair of Edelson’s Public Client team, and has extensive complex

O_720.741.0084               litigation experience in class, mass, and governmental litigation, including matters on
                             behalf of various Attorneys General and municipalities across the country. Eve has been
F_720.741.0081               appointed class counsel or led the litigation efforts in dozens of privacy and consumer
                             protection matters and has recovered or secured verdicts of over a billion dollars for her
                             clients.
erapp@edelson.com              Specific to her Public Client and Government Affairs practice, Eve is presently leading
                               the litigation on behalf of the City of Chicago in the Marriott data breach litigation, which
                               seeks to hold the hotel giant accountable for a massive data breach where attackers
                               stole the personal date of up to 383 million guests—including over 5 million unencrypted
                               passport numbers. She likewise represented the City of Chicago in the data breach
                               litigation against Equifax where she secured a landmark seven-figure settlement under
                               Chicago’s City-specific ordinance.


                               Eve is part of the team representing the District of Columbia in its litigation against Juul
                              for its deceptive e-cigarette manufacturing and sales and the State of New Mexico in its
                              suit against Google alleging that its G-Suite for Education product and services illegally
                              collected data from New Mexico school children in violation of COPPA. Eve also counsels
                              governments on a range of issues involving consumer protection, privacy, technology, and
                              data security and was recently designated a Panel Member of Delaware’s Department of
                              Justice’s Environmental Counsel Panel.


                               Eve devotes a considerable amount of her practice to consumer technology and privacy
                               cases. Eve was appointed Class Counsel in Wakefield v. ViSalus, Inc., No. 15-cv-01857 (D.
                               Or.), where she led and coordinated Edelson’s litigation efforts, achieved certification of
                               an adversarial TCPA class, and paved the way to a $925 million jury verdict. She also led
                               Edelson’s efforts in Birchmeier v. Caribbean Cruise Line, Inc. et al., No. 12-cv-04069 (N.D.
                               Ill.), where, after obtaining class certification and partial summary judgment, she secured
                               a $76 million settlement—the largest ever for a TCPA case—four days before trial. She is
                               also responsible for leading one of the first “Internet of Things” cases under the Federal




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Our Team



                           Eve-Lynn Rapp
                           Managing Partner, Boulder



                               Wiretap Act against a company collecting highly sensitive personal information from
                               consumers, in which she obtained a $5 million (CAD) settlement that afforded individual
                               class members over one hundred dollars in relief.


                               In addition to her government and privacy work, Eve has led over a dozen consumer
                               fraud cases, against a variety of industries, including e-cigarette sellers, on-line gaming
                               companies, and electronic and sport products distributors. She lead and resolved a case
                               against a 24 Hour Fitness for misrepresenting its “lifetime memberships,” which resulted
                               in over 25 million dollars of relief.


                               Due to Eve’s knowledge and practice in the data privacy, technology and consumer
                               protection space, Eve serves as the Chair of the San Francisco Bar Association’s
                               Cybersecurity and Privacy Committee, where she is responsible for hosting and speaking
                               about a range of cutting-edge issues. She also speaks on various panels about cutting
                               edge issues ranging from upcoming regulatory efforts, “issues to watch,” and litigation
                               trends.


                               Eve is passionate about diversity and social justice. She works with various organizations
                              such as the Diverse Attorney Pipeline Program, where she helps her firm conduct
                              over 20 mock interviews for women of color each year in effort to help expand their
                              postgraduate opportunities, and organizations like the East Bay Community Law Center
                              and Berkeley’s Women of Color Collective. As a young attorney, Eve likewise devoted a
                              significant amount of time to the Chicago Lawyers’ Committee for Civil Rights Under Law’s
                              Settlement Assistance Project, where she represented a number of pro bono clients for
                              settlement purposes.


                               From 2015-2019, Eve was selected as an Illinois Emerging Lawyer by Leading Lawyers.


                               Eve received her J.D. from Loyola University of Chicago-School of Law, graduating
                               cum laude, with a Certificate in Trial Advocacy. During law school, she was an Associate
                               Editor of Loyola’s International Law Review and externed as a “711” at both the Cook
                               County State’s Attorney’s Office and for Cook County Commissioner Larry Suffredin. Eve
                               also clerked for both civil and criminal judges (The Honorable Judge Yvonne Lewis and
                               Plummer Lott) in the Supreme Court of New York. Eve graduated from the University of
                               Colorado, Boulder, with distinction and Phi Beta Kappa honors, receiving a B.A. in Political
                               Science.




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Our Team



                           Benjamin H. Richman
                           Managing Partner, Chicago


                           Recovered hundreds of millions of dollars for his clients.

                             Benjamin handles plaintiff’s-side class and mass actions, helping employees in the

O_312.589.6377               workplace, consumers who were sold deceptive products or had their privacy rights
                             violated, individuals and families suffering the ill-effects of exposure to toxic chemicals,
F_312.589.6378               student athletes suffering from the effects of concussions, and labor unions and
                             governmental bodies seeking to recover losses arising out of the opioid crisis. He also
                             routinely represents technology and brick and mortar companies in a wide variety of
brichman@edelson.com         commercial litigation and other matters. Overall, Ben has been appointed by the federal
                             and state courts to be Class or Lead Counsel in dozens of cases.

                               Ben represents state Attorneys General, counties, and cities in high-stakes litigation
                               and investigations, including the State of Idaho, in asserting claims against some of
                               the largest pharmaceutical manufacturers and distributors in the world related to the
                               ongoing opioid epidemic, including in the MDL pending in the Northern District of Ohio.
                               Ben also leads the team representing approximately 50 other governmental entities in
                               opioid litigation; the State of New Mexico in its lawsuit against Google LLC for allegedly
                               collecting data from children under the age of 13 through its G-Suite for Education
                               products and services; the District of Columbia in a suit against e-cigarette giant Juul for
                               alleged predatory and deceptive marketing; and was appointed as a Special Assistant
                               State’s Attorney to prosecute Facebook’s violations of the Illinois Consumer Fraud Act in
                               the Cambridge Analytica scandal.


                               Ben has been one of the primary forces behind the development of the firm’s
                               environmental practice. In the last year alone, Ben led a team representing hundreds of
                               individuals across the country suffering from the effects of exposure to ethylene oxide—a
                               carcinogenic chemical compound used in sterilization applications—emitted into the air in
                               their communities, which included coordinating litigation across state and federal courts
                               in various jurisdictions; was appointed to the Plaintiffs’ Executive Committee overseeing
                               the prosecution of the In re: Aqueous Film-Forming Foams Prods. Liability Litig., No. 18-
                               mn-2873, MDL No. 2873 (D.S.C.) (which includes more than 500 cases against the largest
                               chemical manufacturers in the world, among others); and was designated as a Panel
                               Member on a State Attorney General’s Environmental Counsel Panel, which was formed
                               to assist and represent the State in a wide range of environmental litigation.


                               Ben is currently part of the team leading the In re National Collegiate Athletic Association




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Our Team



                           Benjamin H. Richman
                           Managing Partner, Chicago


                             Student-Athlete Concussion Injury Litigation – Single Sport/Single School (Football)
                             multidistrict litigation, bringing personal injury lawsuits against the NCAA, athletic
                             conferences, and its member institutions over concussion-related injuries. In addition, Ben
                             has and is currently acting as lead counsel in numerous class actions involving alleged
                             violations of class members’ common law and statutory rights (e.g., violations of Alaska’s
                             Genetic Privacy Act, Illinois’ Biometric Information Privacy Act, the federal Telephone
                             Consumer Protection Act, and others).


                             Some of Ben’s notable achievements include acting as class counsel in litigating and
                             securing a $45 million settlement of claims against for-profit DeVry University related to
                             its allegedly false reporting of job placement statistics. He has acted as lead counsel in
                             securing settlements collectively worth $50 million in over a half-dozen nationwide class
                             actions against software companies involving claims of fraudulent marketing and unfair
                             business practices. He was part of the team that litigated over a half-dozen nationwide
                             class actions involving claims of unauthorized charges on cellular telephones, which
                             ultimately led to settlements collectively worth hundreds of millions of dollars. And he has
                             been lead counsel in numerous multi-million dollar privacy settlements, including several
                             that resulted in individual payments to class members reaching into the tens of thousands
                             of dollars and another that—in addition to securing millions of dollars in monetary relief—
                             also led to a waiver by the defendants of their primary defenses to claims that were not
                             otherwise being released.


                             Ben’s work in complex commercial matters includes successfully defending multiple
                             actions against the largest medical marijuana producer in the State of Illinois related to
                             the issuance of its cultivation licenses, and successfully defending one of the largest
                             mortgage lenders in the country on claims of unjust enrichment, securing dismissals or
                             settlements that ultimately amounted to a fraction of typical defense costs in such actions.
                             Ben has also represented startups in various matters, including licensing, intellectual
                             property, and mergers and acquisitions.


                             Each year since 2015, Ben has been recognized by Super Lawyers as a Rising Star and
                             Leading Lawyers as an Emerging Lawyer in both class action and mass tort litigation.


                             Ben received his J.D. from the University of Illinois Chicago School of Law, where he was an
                             Executive Editor of the Law Review and earned a Certificate in Trial Advocacy. While in law
                             school, Ben served as a judicial extern to the late Honorable John W. Darrah of the United
                             States District Court for the Northern District of Illinois. Ben also routinely guest-lectures at
                             various law schools on issues related to class actions, complex litigation and negotiation.




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Our Team



                           Shawn Davis
                           Chief Information Officer


                           Experience testifying in federal court, briefing members
                           of U.S. Congress on Capitol Hill.
                              Shawn leads a technical team in investigating claims involving privacy violations and

O_312.589.6373                tech-related abuse. His team’s investigations have included claims arising out of the
                              fraudulent development, marketing, and sale of computer software, unlawful tracking
F_312.589.6378                of consumers through digital devices, unlawful collection, storage, and dissemination of
                              consumer data, large-scale data breaches, receipt of unsolicited communications, and
                              other deceptive marketing practices.
sdavis@edelson.com              Shawn has experience testifying in federal court, briefing members of U.S. Congress on
                                Capitol Hill, and is routinely asked to testify before legislative bodies on critical areas of
                                cybersecurity and privacy, including those impacting the security of our country’s voting
                                system, issues surrounding children's privacy (with a special emphasis on surreptitious
                                geotracking), and other ways data collectors and aggregators exploit and manipulate
                                people’s private lives. Shawn has taught courses on cybersecurity and forensics at the
                                undergraduate and graduate levels and has provided training and presentations to other
                                technology professionals as well as members of law enforcement, including the FBI.

                                Shawn’s investigative work has forced major companies (from national hotel chains
                                to medical groups to magazine publishers) to fix previously unrecognized security
                                vulnerabilities. His work has also uncovered numerous issues of companies
                                surreptitiously tracking consumers, which has led to groundbreaking lawsuits

                                Prior to joining Edelson PC, Shawn worked for Motorola Solutions in the Security
                                and Federal Operations Centers as an Information Protection Specialist. Shawn’s
                                responsibilities included network and computer forensic analysis, malware analysis,
                                threat mitigation, and incident handling for various commercial and government entities.

                                Shawn is an Adjunct Industry Associate Professor for the School of Applied Technology
                                at the Illinois Institute of Technology (IIT) where he has been teaching since December
                                of 2013. Additionally, Shawn is a faculty member of the IIT Center for Cyber Security and
                                Forensics Education which is a collaborative space between business, government,
                                academia, and security professionals. Shawn’s contributions aided in IIT’s designation
                                as a National Center of Academic Excellence in Information Assurance by the National
                                Security Agency.

                                Shawn graduated with high honors from the Illinois Institute of Technology with a Masters
                                of Information Technology Management with a specialization in Computer and Network
                                Security. During graduate school, Shawn was inducted into Gamma Nu Eta, the National
                                Information Technology Honor Society.




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Our Team



                           Kelsey McCann
                           Chief of Staff


                           As a result of her efforts, Edelson is considered one of the
                           most diverse “high stakes” plaintiff’s firms in the country.
                              Kelsey weighs in on and executes strategic planning, including HR issues, public

O_312.572.7219                relations, pro bono initiatives, staffing and the firm’s general strategic vision.

F_312.589.6378                  As the Chair of the Hiring Committee, Kelsey develops and executes the firm’s
                                recruitment efforts, including screening and evaluating lateral hires (including attorneys
                                and non-attorneys) for both permanent and temporary work. She also leads the Summer
kmccann@edelson.com             Associate committee, where she evaluates law students and college interns for the firm’s
                                summer program and structuring the various aspects of the summer program, including
                                the firm’s unique training model.


                                Kelsey’s creation and leadership of diversity efforts within the firm has made her a
                                national thought leader. She created novel outreach programs to law schools, law
                                school groups, and attorney organizations in order to broaden the pool of applicants the
                                firm was seeing. Today, as a result of her efforts, Edelson PC is considered one of the
                                most diverse “high stakes” plaintiff’s firms in the country, and was recently awarded the
                                Diversity Initiative Award, given to the plaintiff’s firm demonstrating a successful effort
                                to promote diversity within its organization and the profession at large by The National
                                Law Journal. The firm also has been recognized as having the second highest lawyer
                                satisfaction rate in the country by law360 and the highest one nationally by Above the
                                Law.


                                In 2022, Kelsey was recognized as a DEIA Visionary by the LA Times.


                                Kelsey also works with the different practice groups and the individual employees to set
                                and execute short and long term individual and firm-specific goals.


                                Kelsey also works with the different practice groups and the individual employees to set
                                and execute short and long term individual and firm-specific goals.


                                Kelsey graduated summa cum laude with dual degrees from DePaul University.




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Our Team



                           Tasha Green
                           Director of Human Resources


                           Recieved her Masters in Counseling Psychology from The
                           Chicago School of Professional Psychology.
                             Tasha's work focuses on the day-to-day HR management of the firm.

O_312.239.3361                 Tasha is the Director of Human Resources at Edelson PC and a member of the Executive
F_312.589.6378                Committee. Tasha conducts onboarding for new staff and serves as point of contact for
                              related inquires, ensures the firm’s compliance by processing renewals for attorneys and
                              the firm yearly, as well as reviews, gets approval from leadership, and processes all plan

tgreen@edelson.com            changes for benefits enrollments and transactions.

                               Tasha assists in the maintenance of company culture, conducts phone and in- person
                              interviews, aids in the hiring decision process, and retains confidentiality of sensitive/
                              privileged information, among other activities.

                               Tasha began her career at Edelson PC in 2014 as a Legal Assistant.

                               Tasha graduated from The Chicago School of Professional Psychology wiht a Masters in
                               Counseling Psychology.

                               Tasha recieved her BA from National Louis University in Chicago.




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Our Team



                           Ryan D. Andrews
                           Partner


                           Litigated issues of first impression nationwide securing
                           pathmarking victories.
                             Ryan presently leads the firm’s complex case resolution and appellate practice group,

O_312.589.6374               which oversees the firm’s class settlements, class notice programs, and briefing on
                             issues of first impression.
F_312.589.6378
                                Ryan has been appointed class counsel in numerous federal and state class actions
                                nationwide that have resulted in over $100 million in refunds to consumers, including:
randrews@edelson.com            Satterfield v. Simon & Schuster, No. 06-cv-2893 (N.D. Cal.); Ellison v Steve Madden, Ltd.,
                                No. 11-cv-5935 (C.D. Cal.); Robles v. Lucky Brand Dungarees, Inc., No. 10-cv-04846 (N.D.
                                Cal.); Lozano v. 20th Century Fox, No. 09-cv-06344 (N.D. Ill.); Paluzzi v. Cellco P’ship, No.
                                2007 CH 37213 (Cir. Ct. Cook Cty., Ill.); and Lofton v. Bank of America Corp., No. 07-5892
                                (N.D. Cal.).


                                Representative reported decisions include: Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016);
                                Kater v. Churchill Downs Inc., 886 F.3d 784 (9th Cir. 2018); Warciak v. Subway Rests., Inc.,
                                880 F.3d 870 (7th Cir. 2018), cert. denied, 138 S. Ct. 2692 (2018); Beaton v. SpeedyPC
                                Software, 907 F.3d 1018 (7th Cir. 2018), cert. denied, 139 S. Ct. 1465 (2019); Klaudia Sekura
                                v. Krishna Schaumburg Tan, Inc., 2018 IL App (1st) 180175; Yershov v. Gannett Satellite
                                Info. Network, Inc., 820 F. 3d 482 (1st Cir. 2016); Resnick v. AvMed, Inc., 693 F. 3d 1317 (11th
                                Cir. 2012); and Satterfield v. Simon & Schuster, Inc., 569 F.3d 946 (9th Cir. 2009).


                                Ryan graduated from the University of Michigan, earning his B.A., with distinction, in
                                Political Science and Communications. Ryan received his J.D. with High Honors from the
                                Chicago-Kent College of Law and was named Order of the Coif. Ryan has served as an
                                Adjunct Professor of Law at Chicago-Kent, teaching a third-year seminar on class actions.
                                While in law school, Ryan was a Notes & Comments Editor for The Chicago-Kent Law
                                Review, earned CALI awards for the highest grade in five classes, and was a teaching
                                assistant for both Property Law and Legal Writing courses. Ryan externed for the
                                Honorable Joan B. Gottschall in the United State District Court for the Northern District of
                                Illinois.




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Our Team



                           Natasha Fernández-Silber
                           Partner


                           Specializes in generic drug suppression cases involving
                           “pay-for-delay” deals & other anticompetitive schemes.
                             Natasha's practice focuses on antitrust class actions and other forms of complex

O_628.241.1135               litigation.

F_312.589.6378                  Prior to joining Edelson, Natasha was a partner at a boutique antitrust class action firm
                                where she specialized in generic drug suppression cases involving “pay-for-delay”
                                deals and other anticompetitive schemes. She has also represented purchasers of
nfernandezsilber@               e-cigarettes, textbooks, pesticides, and other consumer products

edelson.com                     Representative cases decisions include: Reece v. Altria Group, No. 20-02345 (N.D.
                                Cal.) – Steering Committee member representing direct purchasers of Juul products
                                in suit alleging anticompetitive agreement between Juul and Altria; In re Inclusive
                                Access Course Materials Antitrust Litig., No. 20-02946 (S.D.N.Y.) – Appointed Co-Lead
                                Interim Counsel on behalf of college students alleging textbook publishers and retailers
                                conspired to restrict sales of course materials to specific online format to foreclose
                                competition and raise prices; In re Actos Antitrust Litig., No. 15-03278 (S.D.N.Y) – Counsel
                                for direct purchasers in suit alleging Takeda delayed generic competition for diabetes
                                drug by misrepresenting scope of patents listed in Orange Book; In re Ranbaxy Generic
                                Drug Application Antitrust Litig., No. 19-02878 (D. Mass.) – Counsel for direct purchasers
                                in suit alleging Ranbaxy fraudulently obtained tentative ANDA approvals (and first-to-file
                                exclusivities), delaying generic competition in three drug markets; In re Intuniv Antitrust
                                Litig., No. 16-12653 (D. Mass.) – Counsel for direct purchasers in suit alleging reverse
                                payment scheme to monopolize market for ADHD drug.

                               Natasha clerked for the Honorable Ann Claire Williams on the Seventh Circuit Court of
                               Appeals.

                                Natasha received her J.D. from the New York University School of Law.


                                Natasha is admitted in New York, Michigan, Southern District of New York, Seventh
                               Circuit Court of Appeals.




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Our Team



                           Amy B. Hausmann
                           Partner


                           Served as a law clerk to the Honorable Michael P. Shea of
                           the U.S. District Court for District of Connecticut.
                             Amy's practice focuses on consumer and privacy-related class actions, as well as

O_773.389.2237               government enforcement litigation.

F_312.589.6378                 Specific to her public client practice, Amy secured preliminary injunction on behalf of the
                               Cities of Cincinnati, Columbus, Dayton, and Toledo in action against FirstEnergy Corp.
                               for alleged violations of the Ohio Corrupt Practices Act, saving the Cities and all Ohio
abhausmann@edelson.com         consumers from paying $170 million per year in added electric bill fees. City of Cincinnati
                               v. FirstEnergy Corp., No. 20 CV 7005 (Ohio Ct. Common Pleas).


                                Amy represents consumers who have suffered losses to illegal interest casinos. Three
                               of those cases recently settled for approximately $200 million, with damages-adjusted
                               claims rates of 15%-33% and class members recovering up to hundreds of thousands of
                               dollars. The largest of the remaining cases is set for trial in November 2021. See, e.g.,
                               Benson v. DoubleDown Interactive, LLC, No. 18-cv-525 (W.D. Wash.); Wilson v. PTT, LLC,
                               No. 18-cv-5275 (W.D. Wash); Reed v. Scientific Games Corp., No. 18-cv-565 (W.D. Wash.).


                                Amy received her J.D. from Yale Law School where she participated in the San Francisco
                                Affirmative Litigation Project, a clinic partnering with the San Francisco City Attorney’s
                                Office to bring suits challenging unfair and deceptive business practices. She also
                                participated in the Housing Clinic of the Jerome N. Frank Legal Services Organization,
                                defending homeowners in judicial foreclosure proceedings and bringing affirmative suits
                                against mortgage lenders and servicers. She served as Co-Chair of the law school’s
                                Clinical Student Board and as a Practical Scholarship Editor on the Yale Law Journal,
                                helping solicit and publish pieces based on legal practice or clinical experience.


                                Before law school, Amy worked as a legal assistant at a plaintiffs’ firm in New York City
                                focusing on employment and False Claims Act cases.




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Our Team



                           J. Aaron Lawson
                           Partner


                           Argued in four federal Courts of Appeals and numerous
                           district courts around the country.
                             Aaron's practice focuses on appeals and complex motion practice. Aaron regularly

O_415.234.5344               litigates complex issues in both trial and appellate courts, including jurisdictional issues
                             and class certification.
F_415.373.9435
                                Aaron has argued in four federal Courts of Appeals and numerous district courts around
                               the country. In 2019, Aaron won and successfully defended class certification in a case
alawson@edelson.com            challenging Facebook’s collection of facial recognition data gathered through the
                               platform’s photo tagging feature. The case settled on the eve of trial for a record breaking
                               $650 million. In re Facebook Biometric Info. Privacy Litig., 326 F.R.D. 535 (N.D. Cal. 2018);
                               932 F.3d 1264 (9th Cir. 2019). W


                                Aaron won and successfully defended class certification in case involving allegedly
                               fraudulently advertised computer software. Beaton v. SpeedyPC Software, No. 13-cv-
                               08389 (N.D. Ill.); 907 F.3d 1018 (7th Cir. 2018).


                                Aaron helped achieve a landmark decision affirming the ability of plaintiffs to bring
                               statutory claims for relief in federal court. Robins v. Spokeo, No. 10-cv-5306 (C.D. Cal.).


                                In addition to his work at Edelson PC, Aaron serves on the Privacy Subcommittee of the
                                California Lawyers Association’s Antitrust, UCL & Privacy Section, and edits the yearly
                                treatise produced by the subcommittee


                                Prior to joining Edelson PC, Aaron served for two years as a Staff Attorney for the United
                                States Court of Appeals for the Seventh Circuit, handling appeals involving a wide variety
                                of subject matter, including consumer-protection law, employment law, criminal law, and
                                federal habeas corpus.


                                While at the University of Michigan Law School, Aaron served as the Managing Editor for
                               the Michigan Journal of Race & Law, and participated in the Federal Appellate Clinic. In
                               the clinic, Aaron briefed a direct criminal appeal to the United States Court of Appeals for
                               the Sixth Circuit, and successfully convinced the court to vacate his client’s sentence.




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Our Team



                           Todd Logan
                           Partner


                           Led the litigation and settlement of a variety of class action
                           cases alleging claims under federal, state, and local laws.
                             Todd focuses his practice on class and mass actions and large-scale governmental suits.

O_415.638.9853
F_415.373.9435                  Todd is routinely appointed by courts nationwide to serve as class counsel in major class
                                action litigation. In recent years, Todd has been appointed Class Counsel in, and led
                                the litigation of, several related cases alleging that internet slot machine apps constitute
tlogan@edelson.com              illegal gambling. Three of those cases recently settled for approximately $200 million,
                                with damages-adjusted claims rates of 15%-33% and class members recovering up to
                                hundreds of thousands of dollars.


                                Todd represents Butte County residents who lost their homes and businesses in the
                               Camp Fire, governments and other entities seeking to recover losses arising out of the
                               nationwide opioid epidemic, former NCAA football players suffering from the harmful
                               effects of concussions, consumers seeking compensation for their gambling losses to
                               illegal internet casinos, and consumers who have been defrauded or otherwise suffered
                               damages under state consumer protection laws.

                                In recent years, Todd has led the litigation and settlement of a variety of class action
                                cases alleging claims under federal, state, and local laws. For example, in Dickey v.
                                Advanced Micro Devices, Inc., No. 15-cv-04922, 2019 WL 251488, (N.D. Cal. Jan. 17,
                                2019), Todd briefed and argued a successful motion for nationwide class certification in a
                                complex consumer class action alleging claims under California Law. In Robins v. Spokeo,
                                No. 10-cv-5306 (C.D. Cal.), after remand from both the Supreme Court and the Ninth
                                Circuit, Todd led the litigation of the class’ claims under the Fair Credit Reporting Act for
                                more than a year before the case entered settlement posture on favorable terms. And
                                in Sekura v. L.A. Tan Enterprises, Inc., No. 2015-CH-16694 (Cir. Ct. Cook Cty., Ill.), Todd
                                represented a class of consumers alleging claims under Illinois’ Biometric Information
                                Privacy Act (BIPA) and ultimately obtained a seven-figure class action settlement – the
                                first ever BIPA class action settlement.


                                Before becoming a lawyer, Todd built SQL databases for a technology company and
                                worked at various levels in state and local government. Todd received his J.D. cum laude
                                from Harvard Law School, where he was Managing Editor of the Harvard Journal of Law
                                and Technology. Todd also assisted Professor William B. Rubenstein with research and
                                analysis on a wide variety of class action issues, and is credited for his work in more than
                                eighty sections of Newberg on Class Actions.


                                From 2016-17, Todd served as a judicial law clerk for the Honorable James Donato of the
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                                Northern District of California.
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Our Team



                           David I. Mindell
                           Partner
                           Co-Chair, Public Client and Government Affairs group

                           Counsels governments and state and federal lawmakers
                           on a range of policy issues.
                             David represents state Attorneys General, counties, and cities in high-stakes litigation

O_312.572.7213               and investigations involving consumer protection, information security and privacy
                             violations, the opioid crisis, and other areas of enforcement that protect government
F_312.589.6378               interests and vulnerable communities. David also counsels governments and state and
                             federal lawmakers on a range of policy issues involving consumer protection, privacy,
                             technology, and data security.
dmindell@edelson.com            In addition to his Public Client and Government Affairs practice, David helps direct
                                the firm’s Investigations team, including the group’s internal lab “of computer forensic
                                engineers and tech-savvy lawyers [who study] fraudulent software and hardware,
                                undisclosed tracking of online consumer activity and illegal data retention.” Cybersecurity
                                & Privacy Practice Group of the Year, Law360 (Jan. 2019). His team’s research has led
                                to lawsuits involving the fraudulent development, marketing and sale of computer
                                software, unlawful tracking of consumers through mobile-devices and computers,
                                unlawful collection, storage, and dissemination of consumer data, mobile-device
                                privacy violations, large-scale data breaches, unlawful collection and use of biometric
                                information, unlawful collection and use of genetic information, and the Bitcoin industry.

                                David also helps oversee the firm’s class and mass action investigations, including
                                claims against helmet manufacturers and the National Collegiate Athletic Association
                                by thousands of former high school, college, and professional football players suffering
                                from the long-term effects of concussive and sub-concussive hits; claims on behalf of
                                hundreds of families and business who lost their homes, businesses, and even loved
                                ones in the “Camp Fire” that ravaged thousands of acres of Northern California in
                                November 2018; and on behalf of survivors of sexual abuse.

                                Prior to joining Edelson PC, David co-founded several tech, real estate, and hospitality
                                related ventures, including a tech startup that was acquired by a well-known international
                                corporation within its first three years. David has advised tech companies on a variety
                                of legal and strategic business-related issues, including how to handle and protect
                                consumer data. He has also consulted with startups on the formation of business plans,
                                product development, and launch.

                                While in law school, David was a research assistant for University of Chicago Law School
                                Kauffman and Bigelow Fellow, Matthew Tokson, and for the preeminent cybersecurity
                                professor, Hank Perritt at the Chicago-Kent College of Law. David’s research included
                                cyberattack and denial of service vulnerabilities of the internet, intellectual property
                                rights, and privacy issues.

                                David has spoken to a wide range of audiences about his investigations and practice.



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Our Team



                           Roger Perlstadt
                           Partner


                           Briefed appeals and motions in numerous federal and
                           state appellate courts.
                             Roger's practice focuses on appeals and critical motions. He has briefed appeals and

O_312.267.2079               motions in numerous federal and state appellate courts, including the United States
                             Supreme Court’s seminal case of Spokeo, Inc. v. Robins, and has argued multiple times
F_312.589.6378               before the United States Courts of Appeals for the Sixth, Seventh, Eighth, and Ninth
                             Circuits.


rperlstadt@edelson.com          Roger has briefed complex issues at the trial court level in cases throughout the country.
                                These cases generally involve matters of first impression relating to new statutes or
                                novel uses of long-standing statutes, as well as the intersection of privacy law and
                                emerging technologies.


                                Prior to joining Edelson PC, Roger was an associate at a litigation boutique in Chicago,
                                and a Visiting Assistant Professor at the University of Florida Levin College of Law. He
                                has published articles on the Federal Arbitration Act in various law reviews.


                                Roger has been named a Rising Star by Illinois Super Lawyer Magazine four times since
                                2010.


                                Roger graduated from the University of Chicago Law School, where he was a member
                                of the University of Chicago Law Review. After law school, he served as a clerk to the
                                Honorable Elaine E. Bucklo of the United States District Court for the Northern District of
                                Illinois.




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Our Team



                           Jimmy Rock
                           Managing Partner, Washington, D.C. Office, Edelson PC


                           Jimmy spent twelve years with the Office of the Attorney
                           General for the District of Columbia.
                             Jimmy Rock is a partner at Edelson PC where his work focuses on consumer protection

O_202.987.6302               and environmental cases. He also leads the firm's Public Clients litigation group.

                                Prior to joining Edelson PC, Jimmy spent twelve years with the Office of the Attorney

jrock@edelson.com            General for the District of Columbia where he helped to start OAG’s Office of Consumer
                             Protection and transform it into once of the preeminent State AG consumer practices.


                               Jimmy served for five years as an Assistant Deputy Attorney General managing OAG’s
                               Public Advocacy Division, a 40+ lawyer group that enforced the District’s consumer
                               protection, antitrust, workers’ rights, housing, nonprofit and environmental laws.


                               Jimmy led a trial team against one of the largest online travel companies for failing to
                               pay District sales taxes on service fees charged for selling hotel rooms, recovering more
                               than $90 million in unpaid taxes and fees. To this day, this remains the largest litigated
                               affirmative judgment obtained by the D.C. Attorney General’s Office. D.C. v. Expedia, Inc.,
                               120 A.3d 623 (D.C. 2015).


                                Jimmy was the lead attorney on a consumer protection enforcement case stemming
                             from a multistate investigation into Marriott’s deceptive advertising of hotel rooms with
                             mandatory resort fees included in the nightly room rate. D.C. v. Marriott Int'l, Inc., No. 2019-
                             CA-004497 B (D.C. Super. Ct.).


                               In 2015, Jimmy recived the Attorney General’s Distinguished Service Award for Trial of
                               Affirmative Litigation.


                                From 2014-2018, Jimmy served as an Adjunct Professor at Georgetown University Law
                               Center teaching a year-long course on Civil Litigation Practice and Procedure.


                                Jimmy recieved his J.D. with honors from Emory University school of law.




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Our Team



                           Nicholas Rosinia
                           Partner


                           Experience handling high-stakes trials before judges,
                           juries, and arbitration panels.
                             Nick's practice focuses on litigating class actions, mass torts, and high-profile matters

O_773.389.2281               on behalf of government entities. In addition to his trial experience, Nick has managed
                             extensive pre-trial discovery, crafted major motions and briefs, taken and defended
F_312.589.6378               scores of depositions, worked with expert witnesses to develop and defend their
                             opinions and reports, and presented argument in federal and state courts.


nrosinia@edelson.com            Nick is a trial lawyer with more than eight years of experience litigating and leading
                                teams of lawyers through eight- and nine-figure disputes from initial advice to jury verdict.
                                Nick second-chaired two major, multi-week arbitration hearings, and played key roles
                                during an eight-day bench trial and a six-week jury trial.


                               Currently, Nick represents hundreds of survivors of wildfires in Oregon who lost their
                               homes, businesses, and livelihoods over the 2020 Labor Day weekend. Nick also
                               represents a putative class of ADT customers in litigation against ADT and one of its
                               former technicians. Nick is additionally assisting with the litigation of several government
                               enforcement actions on behalf of the District of Columbia, including Facebook for its role
                               in the Cambridge Analytica scandal and JUUL Labs for its e-cigarette marketing practices.


                               Nick represented a putative class of California raisin growers seeking just compensation
                               from the federal government under the Fifth Amendment’s Takings Clause. Following
                               a Supreme Court decision establishing the predicate legal theory, Nick helped
                               conceptualize and develop an ensuing class action that ultimately resulted in an eight-
                               figure class-action settlement. Ciapessoni, et. al. v. The United States of America, No.
                               1:15-cv-00938 (Court of Federal Claims 2015). Along the way, Nick drafted the complaint,
                               worked directly with the class representatives, and helped devise a novel statute of
                               limitations theory that ultimately prevailed and paved the way for the class's recovery.


                                Prior to joining Edelson PC, Nick worked at two prominent, international law firms.


                                Nick recieved his J.D. magna cum laude from Washington University in St. Louis School
                               of Law.




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Our Team



                           Yaman Salahi
                           Partner

                           Secured $465m in pandemic assistance for incarcerated people &
                           recovered over $100m for workers challenging no-poach agreements.

                             Yaman spearheads the firm’s antitrust practice, and has experience litigating consumer

O_415.638.9903               protection, civil rights, privacy, and administrative law claims, including in complex class
                             action proceedings and multi- district litigation.
F_415.373.9435
                               Yaman devised the legal strategy, researched the legal theories, and briefed all merits motions
                               challenging the Trump administration’s denial of COVID-19 stimulus relief under the CARES Act

ysalahi@edelson.com            to people in prison. Yaman was the lead author of the winning motion for class certification,
                               preliminary injunction, and summary judgment, which ultimately resulted in over $465 million in
                               cash assistance to over 385,000 people living in prison, and prevented the IRS from recouping
                               over $1 billion already issued. Yaman also authored a successful opposition to the IRS’s attempt
                               in the Ninth Circuit Court of Appeals to stay the district court’s rulings pending appeal. Scholl v.
                               Mnuchin, No. 20-cv-5309-PJH (N.D. Cal.).


                               In antitrust no-poach litigation, Yaman helped obtain a $54.5 million settlement for medical
                               professors and $19 million for other faculty at Duke University and University of North Carolina-
                               Chapel Hill, and $48.95 million for railway industry workers.


                               Yaman briefed, argued, and won an appeal in the Eleventh Circuit establishing that franchisors
                               and their franchisees constitute separate entities capable of conspiracy under the antitrust
                               laws, a question of first impression. Arrington v. Burger King Worldwide, Inc., et al., 47 F. 4th
                               1247 (11th Cir. 2022).


                               Before joining Edelson PC, Yaman was a Partner at another prominent plaintiff-side class action
                               firm in San Francisco.


                               From 2017-2018, Yaman served as a judicial law clerk for the Honorable Edward M. Chen in the
                               Northern District of California.


                               From 2013-2016 Yaman worked as a a Staff Attorney in the National Security and Civil Rights
                               Program at Asian Americans Advancing Justice-Asian Law Caucus, where he focused on legal
                               issues surrounding government surveillance and freedom of speech, and an Arthur Liman
                               Fellow at the American Civil liberties Union of Southern California.


                               Yaman received his J.D. Yale Law School in 2012.




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Our Team



                           Ari J. Scharg
                           Partner
                           Co-Chair, Government Affairs Group

                           Recognized as one of the leading experts on privacy and
                           emerging technologies.
                             Ari is a Partner at Edelson PC and Co-Chair of the firm’s Public Client and Government

O_312.239.3362               Affairs Group, where he leverages his experience litigating hundreds of complex class
                             and mass action lawsuits to help state and local governments investigate and prosecute
F_312.589.6378               consumer fraud, data privacy, and other areas of enforcement that protect government
                             interests and vulnerable communities.


ascharg@edelson.com            Ari has been appointed as a Special Assistant Cook County State’s Attorney to litigate cases
                               against Facebook and Cambridge Analytica for their alleged misuse of consumer data and
                               against Uber for its alleged violations of the state’s data breach notification law and information
                               security requirements. He is currently representing the Illinois Citizens Utility Board in litigation
                               against Commonwealth Edison for its alleged role in a decade-long bribery scheme, and
                               serves as Special Counsel for Columbus and Cincinnati in litigation alleging money laundering
                               and corruption against FirstEnergy, where he recently secured a preliminary injunction blocking
                               more than $1 billion of new fees from being collected from ratepayers. Ari also represent a
                               broad range of stakeholders in litigation against opioid companies, including governments,
                               municipal risk pools, labor unions, and health and welfare funds.


                               Ari is passionate about social justice causes, and in 2017, the Michigan State Bar Foundation
                               presented both Edelson PC and Ari, personally, with its Access to Justice Award for
                               “significantly advancing access to justice for the poor” through his consumer class actions.


                               As Special Counsel for Melrose Park, Ari served as lead trial counsel in first-of-its-kind litigation
                               seeking to block the closure of Westlake Hospital, a community hospital providing safety net
                               services to medically and socially vulnerable minority populations. Village of Melrose Park v.
                               Pipeline Health System LLC, et al., No. 19-CH-03041 (Cir. Ct. Cook Cty., Ill.). In what has been
                               called “one of the most complicated hospital closure disputes in the state’s history,” Ari worked
                               tirelessly to preserve access to healthcare for the community by securing a series of in-court
                               victories, including a temporary restraining order prohibiting the owners from closing the
                               hospital, and later, after a full-day evidentiary hearing, an order holding the owner in contempt
                               for attempting to shut down hospital services prematurely.


                               Recognized as a leader on privacy and emerging technologies, Ari serves on the Executive
                               Oversight Council for the Array of Things Project where he advises on privacy and data
                               security matters, founded and chaired the Illinois State Bar Association’s Privacy and
                               Information Security Section (2017-2019), and served as Co-Chair of the Illinois Blockchain and
                               Distributed Ledgers Task Force. Ari also enjoys working with law students through the Diverse
                               Attorney Pipeline Program (DAPP) and Berkeley’s Women of Color Collective.


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Our Team



                           Alexander G. Tievsky
                           Partner


                           Obtained preliminary injunction preventing electric utilities
                           from collecting more than $1 billion in surcharges.
                             Alex concentrates on complex motion practice and appeals in consumer class action

O_312.589.6379               litigation.

F_312.589.6378                  Alex has briefed and argued cases in numerous federal appellate and district courts, and
                                he has successfully defended consumers’ right to have their claims heard in a federal
                                forum, including, for example, defeating Facebook’s attempt to deprive its users of a
atievsky@edelson.com            federal forum to adjudicate their claims for wrongful collection of biometric information
                                in violation of a state privacy statute in In re Facebook Biometric Info. Privacy Litig., 290
                                F. Supp. 3d 948 (N.D. Cal. 2018), aff’d 932 F.3d 1264 (9th Cir. 2019); receiving preliminary
                                injunction preventing electric utilities from collecting surcharges imposed by Ohio
                                House Bill 6 on the basis that Cincinnati and Columbus were likely to succeed on their
                                allegations that the bill was the product of a bribery scheme involving the former speaker
                                of the Ohio House of Representatives in Cincinnati & Columbus v. First Energy Corp.,
                                No. 20-CV-7005 (Franklin Cty., Ohio Ct. of Common Pleas 2020); winning reversal of
                                summary judgment in Telephone Consumer Protection Act (TCPA) case on the basis that
                                the defendant could be held liable for ratifying the actions of its callers, even though it
                                did not place the calls itself in Henderson v. United Student Aid Funds, Inc., 918 F.3d 1068
                                (9th Cir. 2019); and winning reversal of district court’s dismissal in first-of-its-kind ruling
                                that so-called “free to play” casino apps are illegal gambling, which allows consumers to
                                recover their losses under Washington law. See Kater v. Churchill Downs, Inc., 886 F.3d
                                784 (9th Cir. 2018)


                                Alex received his J.D. from the Northwestern University School of Law, where he
                                graduated from the two-year accelerated J.D. program. While in law school, Alex was
                                Media Editor of the Northwestern University Law Review. He also worked as a member
                                of the Bluhm Legal Clinic’s Center on Wrongful Convictions. Alex maintains a relationship
                                with the Center and focuses his public service work on seeking to overturn unjust
                                criminal convictions in Cook County.


                                Alex is admitted to the state bars of Illinois and Washington and is a member of both the
                                Lesbian and Gay Bar Association of Chicago and QLaw, the LGBTQ+ Bar Association of
                                Washington.


                                Alex’s past experiences include developing internal tools for an enterprise software
                                company and working as a full-time cheesemonger. He received his A.B. in linguistics
                                with general honors from the College of the University of Chicago.


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Our Team



                           J. Eli Wade-Scott
                           Partner


                           Returned some of the highest per-person relief ever
                           secured in a privacy case.
                             Eli's practice focuses on privacy- and tech-related class actions and enforcement actions

O_312.242.0859
                             brought by governments. Eli has been appointed to represent states and cities to handle
                             high-profile litigation.

F_312.589.6378               Eli is frequently appointed to represent states and cities to handle high-profile litigation,
                             including by the District of Columbia against JUUL, Inc. in litigation arising from the youth vaping

ewadescott@edelson.com       epidemic, by the State of New Mexico to prosecute Google’s violations of the Children’s Online
                             Privacy Protection Act, and as a Special Assistant State’s Attorney for Illinois and the District of
                             Columbia in litigation against Facebook arising from the Cambridge Analytica scandal.


                             Eli is class counsel in nearly a dozen cash settlements on behalf of consumers, collectively
                            worth more than $50 million, including a $25 million all-cash, non-reversionary settlement for
                            employees in action arising under the Illinois Biometric Information Privacy Act (“BIPA”). Kusinski v.
                            ADP LLC, No. 2017-CH-12364 (Cir. Ct. Cook Cty.).


                             Lead counsel in a novel putative class action against ADT over security flaws in its home
                            security system that allowed a technician to surreptitiously spy on families—including children—in
                            their most intimate moments at home.


                             Lead outside attorney for the ACLU and other public interest organizations in a lawsuit against
                            Clearview seeking to enjoin Clearview’s mass collection of facial recognition templates.
                            Clearview raised a host of novel, existential arguments for privacy rights at the motion to dismiss
                            stage, which was rejected in a thorough opinion and the case is ongoing. See American Civil
                            Liberties Union v. Clearview AI, Inc., No. 20 CH 4353, 2021 WL 4164452, at *1 (Ill.Cir.Ct. Aug. 27,
                            2021).

                              Before joining Edelson PC, Eli served as a law clerk to the Honorable Rebecca Pallmeyer of
                              the Northern District of Illinois. Eli has also worked as a Skadden Fellow at Legal Aid Chicago,
                              Cook County’s federally-funded legal aid provider. There, Eli represented dozens of low-
                              income tenants in affirmative litigation against their landlords to remedy dangerous housing
                              conditions.


                              Eli received his J.D. magna cum laude from Harvard Law School, where he was an Executive
                              Editor on the Harvard Law and Policy Review and a research assistant to Professor Vicki C.
                              Jackson.




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Our Team



                           Brandt Silver-Korn
                           Partner


                           Represents over 1,000 victims who suffered losses in the
                           2018 Camp Fire.
                             Brandt's practice focuses on class and mass actions and large-scale governmental

O_415.234.5345               suits. His current clients include families who lost their homes and businesses in the
                             Camp Fire, communities that have been severely impacted by the opioid epidemic, and
F_415.373.9435               consumers who have suffered gambling losses to illegal internet casinos.

                                Brandt represents over 1,000 victims, from residents to business owners, who suffered
bsilverkorn@edelson.com        the devastating loss of their homes, property, and loved ones in the 2018 Camp Fire.
                               The lawsuit alleges that the fire was caused by PG&E’s equipment, resulting from PG&E’s
                               failure to maintain their electrical infrastructure in Butte County. The case resulted in a
                               historic $13.5 billion settlement.


                               Brandt represents consumers in seven class action lawsuits alleging that various online
                               “social casinos” violate state gambling laws. Brandt has taken a leading role both in
                               discovery and in briefing in these cases, and recently provided live testimony to the
                               Washington State Legislature.


                               Brandt serves as counsel for the State of Idaho in the State’s opioid litigation, where he
                               is part of the team spearheading lawsuits against the nation’s leading manufacturers and
                               distributors of opioid products.


                                Brandt received his J.D. from Stanford Law School, where he was awarded the Gerald
                               Gunther Prize for Outstanding Performance in Criminal Law, and the John Hart Ely Prize
                               for Outstanding Performance in Mental Health Law. While in law school, Brandt was
                               also the leading author of several simulations for the Gould Negotiation and Mediation
                               Program.


                                Prior to law school, Brandt graduated summa cum laude from Middlebury College with a
                                degree in English and American Literatures.




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Our Team



                           Schuyler Ufkes
                           Partner


                           Currently litigating consumer class actions on behalf of
                           employees under the Illinois Biometric Information Privacy Act
                             Schuyler focuses on consumer and privacy-related class actions.

O_312.819.2104                  Schuyler is currently litigating nearly a dozen consumer class actions on behalf
F_312.589.6378                  of employees under the Illinois Biometric Information Privacy Act (“BIPA”) for their
                                employers’ failure to comply with the Act’s notice and consent requirements before
                                collecting, storing, and in some instances disclosing their biometric data. Schuyler is
sufkes@edelson.com              also litigating several Telephone Consumer Protection Act cases brought by recipients
                                harassing debt-collection calls as well as spam text messages.


                                Schuyler received his J.D. magna cum laude, and Order of the Coif, from the Chicago-
                                Kent College of Law. While in law school, Schuyler served as an Executive Articles
                                Editor for the Chicago-Kent Law Review and was a member of the Moot Court Honor
                                Society. Schuyler earned five CALI awards for receiving the highest grade in Legal
                                Writing II, Legal Writing III, Pretrial Litigation, Supreme Court Review, and Professional
                                Responsibility.


                                Prior to law school, Schuyler graduated with High Honors from the University of Illinois
                                Urbana-Champaign earning a degree in Consumer Economics and Finance.




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Our Team



                           Aaron Colangelo
                           Partner


                                Aaron is a Partner at Edelson PC, where his work focuses on redressing environmental
                             harms and protecting public health. Before joining Edelson PC, Aaron spent two decades
                             litigating environmental cases with the Natural Resources Defense Council. At NRDC,
                             Aaron served as counsel in more than 150 cases, including lawsuits related to drinking
                             water contamination, migrant farmworker health, hazardous waste cleanup, coastal water
O_771.200.1527               quality, food safety, energy efficiency, air pollution, climate change, and toxics in consumer

T_202.270.4777               products. Aaron also spent five years as NRDC’s litigation co-director, where he helped
                             lead a team of 40 lawyers and paralegals and oversaw a nationwide litigation docket. He
F_312.589.6378               has argued in dozens of federal and state courts, including in the U.S. Supreme Court, and
                             he taught environmental litigation for four years as an adjunct professor at the Howard
                             University School of Law.
acolangelo@edelson.com
                                Prior to working with Edelson PC, Aaron acted as lead counsel in several high-impact
                             environmental lawsuits, including actions to strengthen federal standards for lead in
                             drinking water NRDC v. EPA, No. 21-1020 (D.C. Cir.), enforce the Clean Water Act to abate
                             stormwater pollution L.A. County Flood Control District v. NRDC, 568 U.S. 78 (2013),
                             protect children from toxic exposures (NRDC v. EPA, 658 F.3d 200 (2d Cir. 2011); NRDC v.
                             Consumer Product Safety Commission, 597 F. Supp. 2d 370 (S.D.N.Y. 2009)), and reduce
                             pathogens in coastal waters (NRDC v. Johnson, 2008 WL 11343609 (C.D.Cal. 2008), 2008
                             WL 11342972 (C.D.Cal. 2008), 2007 WL 1121799 (C.D.Cal. 2007)).


                                Represented environmental interests in litigation against major federal entities,
                             challenging the U.S. Navy's munitions testing program (Potomac Riverkeeper v. U.S.
                             Department of the Navy, No. 23-cv-1650 (D.Md.)) and advocating for safer consumer
                             products and environmental practices to ensure public health and environmental safety.


                                Recognized as a leader in environmental law, with inclusion in the Lawdragon Green 500
                             (2023) and the Lawdragon 500 Leading Environmental and Energy Lawyers (2021).




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Our Team



                            Caitlin Vaughn
                            Of Counsel


                            Responsible for the management, identification, and
                            investigation of public client cases.
                              Caitlin's practice focuses on investigating and developing civil cases that are targeted

O_206-206-8317                at protecting consumers, workers, government interests and vulnerable communities for
                              the Investigations team.
F_312.589.6378
                                Caitlin previously served as the Director of Public Client Case Development for a
                              prominent plaintiffs firm where she was responsible for the management, identification, and
cvaughn@edelson.com           investigation of public client cases.


                                Caitlin has extensive state government experience having worked for the New York State
                              Senate for ten years in the capacity of Counsel to Chairs of the Senate Aging, Codes and
                              Health Committees. She also served as the Director of the bipartisan Joint Legislative
                              Commission on Rural Resources. In those roles she was responsible for the management
                              of the legislative and policy agendas of various state senators. Her work has resulted in
                              the passage of statewide laws related to concussion management policies in schools,
                              telehealth parity, Lyme disease prevention, and elder abuse, among other things.


                                In addition to her legal work, Caitlin completed her Ph.D. at Georgetown University with a
                              dissertation that studied the potential for political bias in state retirement system investment
                              strategies. During her graduate school tenure, she also worked as a Duke University
                              Health Policy Fellow at the World Health Organization in Geneva, Switzerland. While
                              there, she worked on research and presentations for WHO Member States and advocacy
                              organizations focusing on tobacco control policy and prevention.


                                Caitlin received her J.D. from Syracuse University College of Law.




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Our Team



                               Shantel Chapple Knowlton
                               Senior Litigation Counsel


                               Served for six years as a Deputy Attorney General at the
                               Office of the Idaho Attorney General.
                                  Shantel's practice focuses on environmental mass tort and consumer protection

O_217.350.2191                    litigation.

F_312.589.6378                      Prior to joining Edelson, Shantel served for six years as a Deputy Attorney General at
                                   the Office of the Idaho Attorney General in both the Natural Resources and Consumer
                                   Protection Divisions. In the Natural Resources Division, Shantel represented the State
schappleknowlton@edelson.com       of Idaho in water-rights adjudications, primarily litigating federal-reserved and Indian
                                   water rights. In the Consumer Protection Division, Shantel represented the State of
                                   Idaho in several multistate consumer protection actions. Most notably, Shantel pursued
                                   investigations and litigation against a variety of companies to hold them accountable for
                                   their contribution to the opioid crisis.


                                   Prior to serving at the Idaho Attorney General’s Office, Shantel clerked for the Honorable
                                   Justice Jim Jones at the Idaho Supreme Court.


                                   Shantel graduated summa cum laude with a J.D. from Lewis & Clark Law School. During
                                   law school, Shantel externed for the Honorable B. Lynn Winmill at the U.S. District Court
                                   for the District of Idaho and served as a Law Clerk at the Oregon Department of Justice
                                   in the Special Litigation Unit. Shantel was also a member of the Lewis & Clark Law Review
                                   and a founding member of the Lewis & Clark chapter of Law Students for Reproductive
                                   Justice (If/When/How).


                                   Shantel received dual B.S. degrees in Psychology and Sociology from the University of
                                   Idaho.




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Our Team



                           Theo Benjamin
                           Associate


                           Led the litigation and settlement of a variety of class action
                           cases alleging claims under federal, state, and local laws.
                             Theo's practice focuses on consumer protection, privacy, complex environmental cases,

O_312.572.7212               and bankruptcy.

F_312.589.6378                 Theo is a member of the firm’s Public Client and Government Affairs teams. Since joining
                               the firm, Theo has actively litigated a variety of complex actions on behalf of state
                               attorneys general, including over youth vaping, e-cigarettes, big-tech data breaches,
tbenjamin@edelson.com          misuses of consumer data, and environmental actions over water and land contamination
                               and natural resources damages from toxic chemicals. These efforts have led to multi-
                               million-dollar settlements for government clients, including a $462 million multistate
                               settlement against JUUL Labs, the largest litigated settlement the District of Columbia
                               has ever secured under the Consumer Protection and Procedures Act (“CPPA”).


                               Theo is currently litigating several government consumer protection and environmental
                              actions against tech-industry giants and chemical companies, including Meta Platforms,
                              Inc. and Velsicol Chemical LLC. He also represents dozens of municipalities in litigation
                              against manufacturers and distributors of opioids, which has helped paved the way for
                              landmark national opioid settlements with Johnson & Johnson, Teva, Cardinal, McKesson,
                              and AmerisourceBergen.


                               Theo received his J.D. from Northwestern Pritzker School of Law, where he served as a
                               Comment Editor for Northwestern’s Journal of Criminal Law & Criminology and founded
                               Northwestern’s chapter of the International Refugee Assistance Project where he helped
                               provide legal aid, representation, and policy research to refugees and asylum seekers
                               undergoing the U.S. resettlement process.


                               Theo has represented clients in complex class action litigation, including on behalf of
                              consumers under the Illinois Biometric Information Privacy Act (“BIPA”) and the California
                              Invasion of Privacy Act (“CIPA”).


                               Theo received his J.D. from Northwestern Pritzker School of Law, where he served as a
                               Comment Editor for Northwestern’s Journal of Criminal Law & Criminology and founded
                               Northwestern’s chapter of the International Refugee Assistance Project where he helped
                               provide legal aid, representation, and policy research to refugees and asylum seekers
                               undergoing the U.S. resettlement process.




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Our Team



                           Lauren Blazing
                           Associate*


                           Authored reports and coordinated media outreach to combat
                           gender and racial disparities in the Service Academies.
                             Lauren's practice focuses on mass torts and class actions.

O_628.251.2045                 Lauren received her J.D. from Yale Law School, where she co-chaired the Title IX
F_415.373.9435                 Working Group and served as a research assistant studying Intentional Violence in
                               International Sport with Professor Alice M. Miller.


lblazing@edelson.com           At Yale, Lauren co-directed the HAVEN Medical Legal Partnership, which provides legal
                              services to underserved and undocumented patients at the university’s community health
                              clinic. She also participated in the Jerome S. Frank Veterans Legal Services Clinic, where
                              her team worked to combat racial and gender inequities in the U.S. Military Service
                              Academies.


                               Before joining Edelson, Lauren clerked for the Honorable Janet C. Hall in the U.S. District
                               Court for the District of Connecticut.


                               Lauren graduated summa cum laude from Duke University with a degree in Political
                             Science Cultural Anthropology.


                             *Admitted only in New York. Supervised by a member of the California bar.




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Our Team



                           Megan Delurey
                           Associate


                           Successfully represented an asylum seeker fleeing persecution
                           on the basis of her LGBTQ identity.
                             Megan's practice focuses on consumer and privacy-related class actions.

O_872.257.3787                 Megan received her J.D. from the University of Chicago Law School, where she was
F_312.589.6378                 involved in the school’s clinical programs in both environmental and immigration law. While
                               working in the Immigrants’ Rights Clinic, Megan provided legal aid services to immigrant
                               communities in Chicago. In the environmental law clinic, Megan advocated on behalf of an
mdelurey@edelson.com           environmental justice and renewable energy nonprofit in state administrative proceedings


                               At the University of Chicago Law School, Megan was an editor for The University of
                              Chicago Legal Forum and organized the journal’s annual symposium.


                               Prior to joining Edelson, Megan worked at a prominent international law firm where
                             she gained significant trial experience. She also maintained an active pro bono practice,
                             including representing women who were forced to flee Afghanistan during the fall of Kabul in
                             their asylum proceedings.


                               Megan graduated from Washington University in St. Louis, where she earned her B.A. in
                             Anthropology and her MSW from the top-ranked Brown School of Social Work. Upon earning
                             her master’s degree, Megan worked for a research lab applying systems sciences to social
                             issues and taught a graduate-level course in participatory system dynamics. In this role, she
                             founded the Changing Systems Summit, an annual event that trains students to use systems
                             thinking tools to address equity issues in their communities.




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Our Team



                           Hannah Hilligoss
                           Associate


                           Co-authored a report analyzing the impacts of AI on human
                           rights for the Berkman Klein Center for Internet and Society.
                             Hannah focuses on consumer and privacy-related class actions.

O_773.906.5348                 Hannah received her J.D. from Harvard Law School, where she was a Student Editor on
F_312.589.6378               the American Journal of Law and Equality and was on the Public Interest Committee for the
                             Women’s Law Association.


hhilligoss@edelson.com         At Harvard, Hannah participated in the Cyberlaw Clinic, where she counseled an anti-
                             disinformation e-newsletter on their response to a cease and desist letter alleging Lanham
                             Act violations; drafted an amicus brief opposing national digital identity laws for a large
                             NGO; and worked with a documentary filmmaker to determine what third-party footage in
                             his film was fair use and what needed to be licensed.


                               Prior to law school, Hannah worked at Harvard’s Berkman Klein Center for Internet
                              and Society, developing ethical approaches to AI development and deployment and
                              combatting algorithmic discrimination in hiring and in the criminal justice system.


                               Hannah graduated magna cum laude from Boston College with a degree in International
                              Studies.




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Our Team



                           Michael Ovca
                            Associate


                           Litigating a half-dozen Telephone Consumer
                           Protection Act cases.
                              Michael focuses on consumer, privacy-related and technology-related class actions.

O_312.561.4106                  Michael’s recent consumer class action work involves bringing claims on behalf of
F_312.589.6378                  students suing for-profit colleges that used allegedly-fraudulent advertising to lead
                                them to enroll. Michael’s environmental practice involves representing individuals who
                                were exposed to ethylene oxide (“EtO”) emitted by medical equipment sterilization
movca@edelson.com               and chemical manufacturing plants, as well as those exposed to dangerous “forever”
                                chemicals through tainted groundwater that accumulate in the body, ultimately causing
                                cancer. Michael is also litigating a half-dozen Telephone Consumer Protection Act cases
                                brought by recipients of text messages sent by entertainment venues from around the
                                country. In terms of governmental representation, Michael has worked on cases brought
                                by the City of Chicago against Uber; by various cities and towns in Illinois against opiate
                                manufacturers, distributors, and prescribers; and a village seeking to prevent the closure
                                of its hospital.


                                Michael received his J.D. cum laude from Northwestern University, where he was an
                                associate editor of the Journal of Criminal Law and Criminology, and a member of several
                                award-winning trial and moot court teams.


                                Prior to law school, Michael graduated summa cum laude with a degree in political
                                science from the University of Illinois.




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Our Team



                           Emily Penkowski
                            Associate


                           Cum laude from Northwestern University
                           Pritzker School of Law
                             Emily's practice focuses on privacy- and tech-related class actions.

O_312.874.7650                 Emily received her J.D. cum laude from Northwestern University Pritzker School of Law,
F_312.589.6378                 where she served as an Associate Editor of Northwestern University Law Review and
                               a Problem Writer for the 2020 Julius Miner Moot Court Board. Emily participated in the
                               Bluhm Legal Clinic’s Supreme Court Clinic, where she worked on cases before the

epenkowski@edelson.com         Supreme Court including Ritzen Group, Inc. v. Jackson Masonry, LLC, 140 S. Ct. 582,
                               584 (2020). She placed on the Dean’s List every semester and served on the student
                               executive boards for the Moot Court Society and the Collaboration for Justice, a justice
                               system reform-oriented student group.

                               Emily spent her law school summers at the Maryland Office of the Attorney General and
                               the U.S. Attorney’s Office for the Western District of Washington. In the Western District of
                               Washington, Emily assisted in prosecuting cryptocurrency money laundering, cybercrime,
                               and complex frauds. In Maryland, she wrote criminal appeals briefs for the State in the
                               Maryland Court of Special Appeals.

                               Before entering law school, Emily worked as an intelligence analyst for the National
                               Security Agency, in the Office of Counterintelligence & Cyber (previously the NSA/CSS
                               Threat Operations Center) and the Office of Counterterrorism. She analyzed significant,
                               technical, complex, and short-suspense intelligence in support of law enforcement,
                               military, computer network defense, diplomatic, and other intelligence efforts, while
                               serving as a “reporting expert” for over three hundred analysts on an agency-wide
                               project. She also briefed NSA and military leadership on cyber and counterintelligence
                               threats to the U.S. government and military.

                               As a digital network analyst, Emily increased intelligence coverage on a counterterrorism
                               target through social network analysis, including eigenvector and cluster analysis, used
                               metric databases to manage and prioritize intelligence collection, and worked with
                               collectors to streamline data flows and eliminate duplicative sources of information.

                               Emily received her Bachelor of Science in International Studies, specializing in
                               Security and Intelligence, at Ohio State. She also received minors in Computer and
                               Information Science and Mandarin Chinese. She began learning Mandarin in high
                               school. During college, Emily interned at the National Security Agency, in the Office of
                               Counterproliferation, and at Huntington National Bank, on its Anti-Money Laundering and
                               Bank Secrecy Act team.




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Our Team



                           Albert J. Plawinski
                           Associate


                           Works on the development of environmental mass tort
                           and mass action cases.
                             Albert identifies and evaluates potential cases and works with the firm’s computer

O_720.741.0085               forensic engineers to investigate privacy violations by consumer products and IoT
                             devices.
F_720.741.0081
                               Albert works on the development of the environmental mass tort and mass action cases,
                               including preparing lawsuits on behalf of (1) victims of the California Camp Fire—the
aplawinski@edelson.com         largest and most devastating fire in California’s history; (2) individuals exposed to toxic
                               chemicals in their drinking water; and (3) individuals exposed to carcinogenic ethylene
                               oxide.

                               Albert received his J.D. from the Chicago-Kent College of Law. While in law school, Albert
                               served as the Web Editor of the Chicago-Kent Journal of Intellectual Property. Albert was
                               also a research assistant for Professor Hank Perritt for whom he researched various legal
                               issues relating to the emerging consumer drone market—e.g., data collection by drone
                               manufacturers and federal preemption obstacles for states and municipalities seeking
                               to legislate the use of drones. Additionally, Albert earned a CALI award for receiving the
                               highest course grade in Litigation Technology.


                               Prior to law school, Albert graduated with Highest Distinctions with a degree in Political
                               Science from the University of Illinois at Urbana-Champaign.




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Our Team



                            Zoë Seaman-Grant
                            Associate


                            Editor of the Michigan Journal of Gender & Law at the
                            University of Michigan Law School.
                              Zoë's practice focuses on environmental and mass tort actions.

O_773.668.0328                  Zoë received her J.D. from University of Michigan. During her time at Michigan, Zoë
F_312.589.6378                  served as a board member for Sexual Assault & Harassment Legal Advocacy Services
                                (SAHLAS), an organization that offered support to University of Michigan students filing
                                sexual misconduct complaints under Title IX.
zseaman-grant@edelson.com
                                Zoë interned with the New York Attorney General’s Torts Department and Davis Polk &
                               Wardwell. While in school, she worked as a Faculty Research Assistant at the University of
                               Michigan Law Library.


                                Before law school, Zoë served as an AmeriCorps member with Reading Partners DC, a
                                nonprofit organization providing literacy support to public school students in Washington,
                                DC.


                                Zoë graduated from Bates College, where she earned her B.A. in Women’s and Gender
                                Studies. She completed an honors thesis titled “Constructing Womanhood and the
                                Female Cyborg: A Feminist Reading of Ex Machina and Westworld.”




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Our Team



                           Julian Li-Ying Zhu
                           Associate


                               Julian received his J.D. with Honors from the University of Chicago Law School, where
                               he was involved in the school’s clinical program in environmental law and a writer for the
                               Chicago Journal of International Law (CJIL). He presented on the antitrust implications of
                               worldwide pharmaceutical settlements at CJIL’s annual symposium and was President of
                               the school’s Public Interest Law Society.
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                               Julian graduated with Honors from the University of California, Berkley, where he
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                               was a writer and editor for the Triple Helix and the Berkeley Scientific Journals. He also
                               volunteered at the Neighborhood Justice Clinic of the East Bay Community Law Center
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Our Team



                            Jean Larsen
                            Associate


                                Jean graduated cum laude with a degree in Politics and International Relations and
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                                She is an Associate with the Public Client Team at Edelson PC. She handles
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